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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                                       www.flsb.uscourts.gov

    In re:
                                                           Chapter 11 Cases
    MBMG HOLDING, LLC, et al.,1
                                                           Case No. 24-20576-CLC
             Debtors.
                                                           (Jointly Administered)

          NOTICE OF ASSUMPTION AND CURE COSTS WITH RESPECT
    TO EXECUTORY CONTRACTS OR UNEXPIRED LEASES POTENTIALLY TO BE
    ASSUMED AND ASSIGNED IN CONNECTION WITH SALE OF DEBTORS’ ASSETS

              YOU ARE RECEIVING THIS NOTICE BECAUSE YOU
            OR ONE OF YOUR AFFILIATES IS A COUNTERPARTY TO
       AN EXECUTORY CONTRACT OR UNEXPIRED LEASE WITH ONE OR
    MORE OF THE DEBTORS AS SET FORTH ON EXHIBIT A ATTACHED HERETO.

PLEASE TAKE NOTICE THAT:

        1.       On October 13, 2024, MBMG Holding, LLC, and its affiliated debtors
(collectively, the “Debtors”) 2 filed the Debtors’ Motion for Entry of an Order (I) Approving Asset
Purchase Agreement and Authorizing the Private Sale of Substantially All of the Assets of the
Debtors Outside the Ordinary Course of Business, (II) Authorizing the Sale of Assets Free and
Clear of All Liens and Interests Except for Permitted Liens and Assumed Liabilities, (III)
Authorizing the Assumption and Assignment of Certain Executory Contracts and Unexpired
Leases, and (IV) Granting Related Relief [ECF No. 29] (the “Sale Motion”) with the United States
Bankruptcy Court for the Southern District of Florida (the “Court”) in the above-referenced,
jointly-administered chapter 11 bankruptcy cases (the “Chapter 11 Cases”).




1
  The address of the Debtors is 7500 S.W. 8th Street, Ste. 400, Miami, Florida 33144. The last four digits of the
Debtors’ federal tax identification numbers are: (i) Care Center Medical Group, LLC (9052); (ii) Care Center Network,
LLC (5784); (iii) CCMC Physician Holdings, Inc. (4532); (iv) Clinical Care Pharmacy, LLC (2103); (v) Florida
Family Primary Care Center, LLC (5005); (vi) Florida Family Primary Care Center of Pasco, LLC (8570); (vii) Florida
Family Primary Care Centers of Orlando, LLC (3086); (viii) Florida Family Primary Care Centers of Pinellas, LLC
(7075); (ix) Florida Family Primary Care Centers of Tampa, LLC (0631); (x) MB Medical Operations, LLC (8450);
(xi) MB Medical Transport, LLC (3476); (xii) MBMG Holding, LLC (3880); (xiii) MBMG Intermediate Holding,
LLC (9320); (xiv) Miami Beach Medical Centers, Inc. (3933); (xv) Miami Beach Medical Consultants, LLC (2737);
and (xvi) Miami Medical & Wellness Center, LLC (2474).
2
  All capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them, as applicable,
in the Sale Motion or the Purchase Agreement (as such term is defined in the Sale Motion).
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       2.      The Sale Motion requests the Court’s authorization for, among other relief, the
Debtors to enter into, and consummate, a certain Asset Purchase Agreement, dated as of October
12, 2024, which is attached as Exhibit B to the Sale Motion (as may be amended or otherwise
modified from time to time and including all related instruments, documents, exhibits, schedules,
and agreements thereto, collectively, the “Purchase Agreement”) with Conviva Medical Center
Management, LLC (the “Buyer”) for the sale (as such term is defined in the Sale Motion, the
“Sale”) of substantially all of the Debtors’ assets (as such term is defined in the Purchase
Agreement, the “Purchased Assets”).

       3.     Copies of (i) the Sale Motion, (ii) the proposed Purchase Agreement, and (iii) the
proposed order approving the Sale (as such term is defined in the Sale Motion, the “Sale Order”)
can be obtained (1) by contacting the Debtors at either (a) the Chief Restructuring Officer for the
Debtors, c/o Chief Restructuring Officer, MERU, LLC, 1175 Peachtree St NE, Building 100 Suite
1000, Atlanta, GA 30361 (Attn: Nicholas K. Campbell, nick@wearemeru.com), or (b) the
proposed bankruptcy counsel for the Debtors, Berger Singerman LLP, 1450 Brickell Avenue,
Suite 1900, Miami, Florida 33131 (Attn: Paul Steven Singerman, Esq.
(singerman@bergersingerman.com), Jordi Guso, Esq. (jguso@bergersingerman.com), Christopher
Andrew Jarvinen, Esq., (cjarvinen@bergersingerman.com), and Samuel Capuano, Esq.
(scapuano@bergersingerman.com)), or (2) without charge from the case website maintained by
Epiq Corporate Restructuring, LLC, the Debtors’ noticing, claims and solicitation agent in
connection with the Chapter 11 Cases, at https://dm.epiq11.com/CCMC.

       4.       The Debtors hereby provide notice of their intent to potentially assume and assign
the prepetition executory contracts or unexpired leases listed on Exhibit A hereto (as defined in
the Purchase Agreement, the “Desired 365 Contracts”) to the Buyer. The inclusion of any
executory contract or unexpired lease on Exhibit A hereto does not require or guarantee that such
executory contract or unexpired lease will actually be assumed or assigned to the Buyer (i.e., be
an Assumed Contract, as such term is defined in the Purchase Agreement).

        5.     Pursuant to the terms of the Purchase Agreement and Buyer’s right to add and/or
remove from Exhibit A Desired 365 Contracts prior to and after the Closing Date (defined below),
the Debtors may seek to assume and assign one or more of the Desired 365 Contracts to the Buyer,
subject to approval at the hearing to be held before the Court on Wednesday, November 20, 2024
at 11:00 a.m. (prevailing Eastern Time) at the United States Bankruptcy Court, C. Clyde
Atkins United States Courthouse, 301 North Miami Avenue, Courtroom 7, Miami, Florida
33128 (the “Sale Hearing”). The Sale Hearing may be adjourned without notice other than
adjournment in open court or as identified on the agenda, and for the avoidance of any doubt, the
Sale Hearing is subject to the right of the Debtors, in the reasonable exercise of their business
judgment, to adjourn the Sale Hearing to a later date with the consent of the Buyer, and KKR Loan
Administration Services LLC (the “DIP Agent”), which consent shall not be unreasonably
withheld, subject to the availability of the Court. On the date of the closing of the transactions
contemplated by the Purchase Agreement (as such term is defined in the Purchase Agreement, the
“Closing Date”), or as soon thereafter as is reasonably practicable and in accordance with the terms
of the Purchase Agreement and the Sale Order, the Debtors or the Buyer, as applicable, will pay
the amount the Debtors’ records reflect is owing for prepetition arrearages, if any, as set forth on
Exhibit A hereto (as such term is defined in the Purchase Agreement, the “Cure Costs”). The
Debtors’ records reflect that all postpetition amounts owing under the Desired 365 Contracts have
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been paid and will continue to be paid until an assumption and assignment, if any, of a Desired
365 Contract, and that, other than the Cure Costs, there are no other defaults under any of the
Desired 365 Contracts.

        6.     Objections, if any, to the Cure Costs or to the assumption and assignment of a
Desired 365 Contract to the Buyer, including with respect to adequate assurance of future
performance of the Buyer (collectively, a “Contract Objection”), must: (a) be in writing; (b)
state the basis of such objection with specificity, including, if applicable, the Cure Costs
asserted to be required; (c) include appropriate documentation thereof; (d) comply with the
Bankruptcy Code, the Bankruptcy Rules, and the Local Rules; (e) be filed with the Court on
or before 4:00 p.m. (prevailing Eastern Time) on Wednesday, November 13, 2024 (the
“Contract Objection Deadline”); and (e) be served, so as to be received the same day as such
Contract Objection is filed, upon: (1) the Debtors, c/o (i) the Chief Restructuring Officer,
MERU, LLC, 1175 Peachtree St NE, Building 100 Suite 1000, Atlanta, GA 30361 (Attn: Nicholas
K. Campbell, nick@wearemeru.com); and (ii) the proposed bankruptcy counsel for the Debtors,
Berger Singerman LLP, 1450 Brickell Avenue, Suite 1900, Miami, Florida 33131 (Attn: Paul
Steven     Singerman,      Esq.     (singerman@bergersingerman.com),     Jordi    Guso,   Esq.
(jguso@bergersingerman.com), Christopher Andrew Jarvinen, Esq. (cjarvinen@bergersingerman.com)
and Samuel Capuano, Esq. (scapuano@bergersingerman.com); (2) counsel for the Buyer,
Laurence Frazen, Esq. (larry.frazen@bclplaw.com) and Michael Goldberg, Esq.
(michael.goldberg@akerman.com); (3) counsel for the DIP Agent and DIP Lenders (a) Proskauer
Rose LLP, One International Place, Boston, Massachusetts 02110 (Attn: Charles A. Dale, Esq.
(cdale@proskauer.com)) and Proskauer Rose LLP, Eleven Times Square, New York, New York
10036 (Attn: Vincent Indelicato, Esq. (vindelicato@proskauer.com) and Matthew R. Koch, Esq.
(mkoch@proskauer.com)) and (b) Trenam Law, 101 E Kennedy Boulevard, Suite 2700, Tampa,
FL 33602 (Attn: Lara Roeske Fernandez, Esq., LFernandez@trenam.com); (3) the Office of the
United States Trustee, 51 SW First Avenue, Room 1204, Miami, Florida 33130 (Attn: Nathan A.
Wheatley, Esq. (nathan.a.wheatley@usdoj.gov)); and (4) counsel to any official committee
appointed in the Chapter 11 Cases (collectively, the “Objection Notice Parties”).

        7.      If a Contract Objection is timely submitted in accordance with paragraph 6 of this
notice, a hearing with respect to the Contract Objection will be held before the Court at the Sale
Hearing, or as may be continued by the Debtors and noticed on the agenda filed on the docket, or
such date and time as the Court may schedule. If no objection is timely received, each non-
Debtor counterparty to a Desired 365 Contract will be deemed to have consented to the
assumption and assignment of the Desired 365 Contract with the Cure Costs set forth herein
and the non-Debtor counterparty will forever will be barred from asserting any other claims
related to the Desired 365 Contact against the Debtors or the Buyer or the property of any
of them, including but not limited to a claim related to the propriety or effectiveness of the
assumption and assignment of the Desired 365 Contract.

        8.      Pursuant to section 365 of the Bankruptcy Code, the Debtors believe there is
adequate assurance of future performance that the Cure Costs set forth on Exhibit A hereto will
be paid in accordance with the terms of the Purchase Agreement and the Sale Order. There is also
adequate assurance of the Buyer’s future performance under the executory contract or unexpired
lease to be assumed and assigned because of the significant resources of the Buyer. If necessary,
the Debtors will adduce facts at the hearing on any objection demonstrating the financial
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wherewithal of the Buyer, and its willingness and ability to perform under the Desired 365 Contract
to be assumed and assigned to it (i.e., the Assumed Contracts).

       9.       If a Contract Objection to the Cure Costs is timely filed and received and the parties
are unable to consensually resolve the dispute, the amount to be paid under section 365 of the
Bankruptcy Code, if any, with respect to such objection will be determined at a hearing to be
requested by the Debtors. At the Buyer’s discretion, and provided the Debtors escrow the disputed
portion of the Cure Costs pursuant to the terms of the Purchase Agreement, the hearing regarding
the Cure Costs may be continued until after the Closing Date and the Desired 365 Contract(s)
subjected to such Cure Costs shall, with the consent of the Buyer, be assumed and assigned to the
Buyer at or following the closing of the Sale per the procedures set forth in the Purchase Agreement
and the Sale Order.

        10.     If no Contract Objection is timely received, the Cure Costs set forth in Exhibit
A hereto will be controlling, notwithstanding anything to the contrary in any Desired 365
Contract or any other related document, and each non-Debtor counterparty to the Desired
365 Contracts will be deemed to have consented to the Cure Costs for the purposes of the
Sale and will be forever barred from asserting any other claims in respect of such Desired
365 Contract or the Cure Costs against the Debtors, the Buyer, or the property of any of
them. The failure of any objecting person or entity to timely file its objection will be a bar
to the assertion, at the Sale Hearing or thereafter, of any objection to the Sale Motion, the
Sale or the Debtors’ consummation of and performance under the Purchase Agreement
(including the transfer of the Purchased Assets and the Assumed Contracts free and clear of
all claims, liens, encumbrances, and interests), if authorized by the Court.

       11.    Unless a non-Debtor counterparty to any Desired 365 Contract files a timely
Contract Objection to the assumption and assignment of the applicable Desired 365 Contract
by the Buyer, then such non-Debtor counterparty shall be deemed to have (i) consented to
the assumption and assignment of the applicable Desired 365 Contract to the Buyer with the
Cure Costs set forth on Exhibit A to this notice and (ii) waived and released any and all other
rights to object to the Cure Costs or the assumption and assignment of the Desired 365
Contract to the Buyer.

        12.     Prior to and after the Closing Date, the Debtors or the Buyer may (i) amend their
decision with respect to the potential assumption and assignment of any Desired 365 Contract that
has not already been assumed and assigned by the Debtors to the Buyer as a part of the Sale,
including amending the Cure Costs, and (ii) provide a new notice amending the information
provided in this notice, including, without limitation, a determination by the Debtors not to assume
and assign to the Buyer certain of the prepetition executory contracts or leases listed on Exhibit A
hereto or any new or amended notice.


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Dated: October 17, 2024                       Respectfully submitted,

                                              BERGER SINGERMAN LLP
                                              Proposed Counsel for the Debtors and
                                              Debtors-in-Possession
                                              1450 Brickell Avenue, Ste. 1900
                                              Miami, FL 33131
                                              Telephone: (305) 755-9500
                                              Facsimile: (305) 714-4340

                                              By:    /s/ Christopher Andrew Jarvinen
                                                     Paul Steven Singerman
                                                     Florida Bar No. 378860
                                                     singerman@bergersingerman.com
                                                     Christopher Andrew Jarvinen
                                                     Florida Bar No. 021745
                                                     cjarvinen@bergersingerman.com
                                                     Samuel J. Capuano
                                                     Florida Bar No. 90946
                                                     scapuano@bergersingerman.com




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                                   Exhibit “A”

                       Desired 365 Contracts and Cure Costs




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CCMC                                                                                                                                                                                                      Subject to Revision
Notes:
 * Executory Contracts as of 10.10.2024
 * Cure Amounts based on Accounts Payable balance as of 10/10/2024
 * Cure Amounts are not inclusive of Commercial Leases that have been exited by CCMC
                                                                                                                                                                                                 Total:               1,704,438
Index # Debtor/Legal Entity              Nature of the Debtor's Interest   Counterparty Name                   Noticing Address                      Executory Contract Title                                        Cure Costs
1           MB Medical Operations, LLC   Commercial Lease                   1200 ALTON ROAD, LLC               4865 SW 80th St Miami, FL 33143       Lease by and between Alanar Investments LTD and                      $0.00
                                                                                                                                                     Rodolfo Dumenigo, M.D., P.A., and the Assignmenta
                                                                                                                                                     and Assumption of Lease Agreement by Alanar
                                                                                                                                                     Investments Ltd., to 1200 Alton Road, LLC


2           MB Medical Operations, LLC   Commercial Lease                   126 WEST DIXIE LLC                 4865 SW 80th St Miami, FL 33143       Lease by and between 126 West Dixie LLC, a Florida                   $0.00
                                                                                                                                                     llc and MB Medical Operations, LLC a Delaware llc


3           MB Medical Operations, LLC   Commercial Lease                   1303 SOUTH SEMORAN LLC             4865 SW 80th St Miami, FL 33143       Lease by and between 1303 South Semoran LLC                          $0.00
                                                                                                                                                     and MB Medical Operations, LLC
4           MB Medical Operations, LLC   Commercial Lease                   201-205 S 1st ST LLC               1400 NW 107th Ave., Suite 500, Miami, Lease by and between 201-205 S 1st ST LLC and                        $0.00
                                                                                                               Florida 33172                         MB Medical Operations, LLC
5           MB Medical Operations, LLC   Commercial Lease                   551 E 49 ST LLC                    1200 Alton Road, Miami Beach, FL      Lease by and between 551 East 49 Street, LLC and                     $0.00
                                                                                                               33139                                 MB Medical Operations, LLC
6           MB Medical Operations, LLC   Commercial Lease                   750 SOUTH FEDERAL HIGHWAY LLC 1200 Alton Road, Miami Beach, FL           Lease by and between 750 Federal Highway, LLC                        $0.00
                                                                                                          33139                                      and MB Medical Operations, LLC
7           MB Medical Operations, LLC   Commercial Lease                   7500 SW 8 ST LLC                   1200 Alton Road, Miami Beach, FL      Execution Version - Lease by and between 7500 SW                     $0.00
                                                                                                               33139                                 8ST, LLC a Florida llc and MB Medical Operations,
                                                                                                                                                     LLC a Delaware llc
8           MB Medical Operations, LLC   Commercial Lease                   9611 BIRD ROAD LLC                 1200 Alton Road, Miami Beach, FL      Lease by and between 9611 Bird Road LLC a Florida                    $0.00
                                                                                                               33139                                 llc and MB Medical Operations, LLC a Delaware llc


9           Miami Beach Medical          Payor contracts                    Aetna Better Health of Florida     Coventry Health Care of Florida, Inc.  Medicaid/Provier Group Agreement                                    $0.00
            Consultants, LLC                                                                                   Attn. Medicaid Network Management
                                                                                                               1340 Concord Terrace Sunrise, FL 33323
                                                                                                               and Aetna Law Dept, Medicaid, Mail
                                                                                                               Code RE6A 151 Farmington Avenue
                                                                                                               Hartford, CT 06156-0001
10          Miami Beach Medical          Payor contracts                    Aetna Network Services LLC         151 Farmington Avenue, Hartford, CT   Provider Agreement                                                   $0.00
            Consultants, LLC                                                                                   06156
11          Miami Beach Medical          Payor contracts                    Aetna Network Services LLC         151 Farmington Avenue, Hartford, CT   Physician Group Agreement                                            $0.00
            Consultants, LLC                                                                                   06156
12          MBMG Ultimate Holding, LP    Insurance                          AFCO Premium Credit LLC            150 N Field Drive, Suite 190, Lake    Premium Finance Agreement A joint venture of                         $0.00
                                                                                                               Forest, IL 60045                      AFCO Credit Corporation and Marsh USA LLC
13          Miami Medical & Wellness     Employment Agreement               Aguiar Alvarez, Gilberto           10512 sw 144 ct                       Employment Agreement by and between Gilberto                         $0.00
            Center, LLC / Rodolfo                                                                                                                    Aguiar Alvarez, APRN, and Miami Medical &
            Dumenigo, M.D., P.A. (now                                                                                                                Wellness Center / Rodolfo Dumenigo, M.D., P.A.
            known as Miami Beach Medical                                                                                                             (now known as Miami Beach Medical Centers, Inc.)
            Centers, Inc.)
14          Miami Medical & Wellness     Employment Agreement               Alba Oliveros, Osmel               8910 SW 200 St                        Employment Agreement by and between Osmel                            $0.00
            Center, LLC / Rodolfo                                                                                                                    Alba Oliveros, APRN, and Miami Medical &
            Dumenigo, M.D., P.A. (now                                                                                                                Wellness Center / Rodolfo Dumenigo, M.D., P.A.
            known as Miami Beach Medical                                                                                                             (now known as Miami Beach Medical Centers, Inc.)
            Centers, Inc.)
15          MB Medical Operations, LLC   Commercial Lease                   Aliva Properties, Inc              8405 N Edison Ave, Tampa Florida      Shopping Center Lease between Aliva Properties,                      $0.00
                                                                                                               33604                                 Inc. and Florida Family Primary Care Centers of
                                                                                                                                                     Tampa, LLC




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16          Florida Family Primary Care    Commercial Lease                     Aliva Properties, Inc             8405 N Edison Ave, Tampa Florida       Shopping Center Lease between Aliva Properties,       $0.00
            Centers of Tampa, LLC                                                                                 33604                                  Inc. and Florida Family Primary Care Centers of
                                                                                                                                                         Tampa, LLC
17          Florida Family Primary Care    Commercial Lease                     Aliva Properties, Inc             8405 N Edison Ave, Tampa Florida       Shopping Center Lease between Aliva Properties,       $0.00
            Centers of Tampa, LLC                                                                                 33604                                  Inc. and Florida Family Primary Care Centers of
                                                                                                                                                         Tampa, LLC
18          Florida Family Primary Care    Commercial Lease                     Aliva Properties, Inc             8405 N Edison Ave, Tampa Florida       Shopping Center Lease between Aliva Properties,       $0.00
            Centers of Tampa, LLC                                                                                 33604                                  Inc. and Florida Family Primary Care Centers of
                                                                                                                                                         Tampa, LLC
20          Miami Medical & Wellness       Employment Agreement                 Alonso, Alberto                   4440 Sw 148 Terrace                    Employment Agreement by and between Miami             $0.00
            Center, LLC                                                                                                                                  Medical & Wellness Center LLC and Alberto B.
                                                                                                                                                         Alonso, MD
21          Care Center Network, LLC       Employment Agreement                 Alonso, Emma                      2501 SW 37th Ave                       EMPLOYMENT AGREEMENT by and between EMMA              $0.00
                                                                                                                                                         R. ALONSO, M.D.and CLINICAL CARE NETWORK,
                                                                                                                                                         INC.
22          MB Medical Operations, LLC     Employment Agreement                 Altieri, Dalirma                  10371 SW 60th St, Miami, FL 33173      Separation Agreement, Including General Release       $0.00
                                                                                                                                                         between Dalirma Altieri and MB Medical
                                                                                                                                                         Operations, LLC d/b/a Clinical Care Medical Centers


23          Rodolfo Dumenigo, M.D., P.A.   Employment Agreement                 Alvarez Pando, Yolanda            1291 Evergreen Park Cir.               Employment agreement by and between Yolanda           $0.00
            (now known as Miami Beach                                                                                                                    Alvarez Pando, MD and Rodolfo Dumenigo, M.D.,
            Medical Centers, Inc.)                                                                                                                       P.A. (now known as Miami Beach Medical Centers,
                                                                                                                                                         Inc.), d/b/a Miami Beach Medical Group
24          Miami Medical & Wellness     Employment Agreement                   Alvarez, Juan                     14951 Belaire Drive S                  Employment Agreement by and between Juan              $0.00
            Center, LLC / Rodolfo                                                                                                                        Alvarez, APRN, and Miami Medical & Wellness
            Dumenigo, M.D., P.A. (now                                                                                                                    Center / Rodolfo Dumenigo, M.D., P.A. (now known
            known as Miami Beach Medical                                                                                                                 as Miami Beach Medical Centers, Inc.)
            Centers, Inc.)
25          Rodolfo Dumenigo, M.D., P.A.   Other (including Clinical Specialists) Angel Batista, MD               16253 SW 102 Terr, Miami, FL 33196     INDEPENDENT CONTRACTOR AGREEMENT                      $0.00
            (now known as Miami Beach
            Medical Centers, Inc.)
27          Miami Medical & Wellness     Employment Agreement                   Arredondo Torres, Elsa Lisset     819 Southwest 6th Avenue               EMPLOYMENT AGREEMENT (this “Agreement”) is            $0.00
            Center, LLC / Rodolfo                                                                                                                        entered into as of the 24th day of April, 2023 (the
            Dumenigo, M.D., P.A. (now                                                                                                                    “Effective Date”), by and between Elsa Arredondo,
            known as Miami Beach Medical                                                                                                                 APRN (“Employee”), and MIAMI MEDICAL &
            Centers, Inc.)                                                                                                                               WELLNESS CENTER/ Rodolfo Dumenigo, M.D., P.A.
                                                                                                                                                         (now known as Miami Beach Medical Centers, Inc.),
                                                                                                                                                         a Florida professional service corporation d/b/a
                                                                                                                                                         CLINICAL CARE MEDICAL CENTERS (“Employer”).


28          Miami Medical & Wellness     Employment Agreement                   Arrieta, Reynaldo E.              10243 Oasis Palm Dr                    Employment Agreement by and between Reynaldo          $0.00
            Center, LLC / Rodolfo                                                                                                                        Arrietta, APRN, and Miami Medical & Wellness
            Dumenigo, M.D., P.A. (now                                                                                                                    Center / Rodolfo Dumenigo, M.D., P.A. (now known
            known as Miami Beach Medical                                                                                                                 as Miami Beach Medical Centers, Inc.)
            Centers, Inc.)
29          MB Medical Operations, LLC     Professional Fees                    Atlantix Partners                 800 Corporate Dr # 320, Fort           Atlantix Statement of Work                            $0.00
                                                                                                                  Lauderdale, FL 33334
30          MB Medical Transport, LLC      Equipment and Financing (Vehicle PuAutonation CDJR Permbroke Pines     13601 Pines Blvd. Pembroke Pines, FL   Retail purchase agreement between MB Medical          $0.00
                                                                                                                  33027                                  Transport, LLC and Autonation CDJR Permbroke
                                                                                                                                                         Pines
31          MB Medical Transport, LLC      Equipment and Financing (Vehicle PuAutonation CDJR Permbroke Pines     13601 Pines Blvd. Pembroke Pines, FL   Retail purchase agreement between MB Medical          $0.00
                                                                                                                  33027                                  Transport, LLC and Autonation CDJR Permbroke
                                                                                                                                                         Pines




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32          MB Medical Operations, LLC     Equipment and Financing            Balboa Capital                      575 Anton Blvd, 12th Floor Costa Mesa, Equipment Financing Agreement, Agreement                 $0.00
                                                                                                                  CA 92626                               #B379015-000 between Balboa Capital and MB
                                                                                                                                                         Medical Operations, LLC
33          Miami Medical & Wellness       Employment Agreement               Balladares Ros, Daisel              14661 Southwest 99th Street          EMPLOYMENT AGREEMENT by and between Daisel                 $0.00
            Center, LLC / Rodolfo                                                                                                                      Balladares, APRN (“Employee”), and MIAMI
            Dumenigo, M.D., P.A. (now                                                                                                                  MEDICAL & WELLNESS CENTER/ Rodolfo
            known as Miami Beach Medical                                                                                                               Dumenigo, M.D., P.A. (now known as Miami Beach
            Centers, Inc.)                                                                                                                             Medical Centers, Inc.), a Florida professional service
                                                                                                                                                       corporation d/b/a CLINICAL CARE MEDICAL
                                                                                                                                                       CENTERS (“Employer”).
34          Florida Family Primary Care    Employment Agreement               Batista, Moraima                    11328 Bloomington Drive              FIRST AMENDMENT TO EMPLOYMENT                              $0.00
            Center of Pasco, LLC / Florida                                                                                                             AGREEMENT by and
            Family Primary Care Centers of                                                                                                             between FLORIDA FAMILY PRIMARY CARE CENTER
            Pinellas, LLC / Florida Family                                                                                                             OF PASCO, LLC, FLORIDA FAMILY PRIMARY CARE
            Primary Care Centers of Tampa,                                                                                                             CENTERS OF PINELLAS, LLC, and FLORIDA FAMILY
            LLC                                                                                                                                        PRIMARY CARE CENTERS OF TAMPA, LLC
                                                                                                                                                       (collectively, the “Company”), and
                                                                                                                                                       MORAIMA BATISTA, M.D.
35          MBMG Holding, LLC              Professional Fees                  BDO USA, P.C.                       100 SE 2nd Street 17th Floor Miami   Engagement Letter                                          $0.00
                                                                                                                  Tower Miami, FL 33131
36          Miami Medical & Wellness       Employment Agreement               Berrios, Rosa María                 128 Smiths Ford Road                 EMPLOYMENT AGREEMENT (this “Agreement”) by                 $0.00
            Center, LLC / Rodolfo                                                                                                                      and between Rosa Berrios, APRN (“Employee”), and
            Dumenigo, M.D., P.A. (now                                                                                                                  MIAMI MEDICAL & WELLNESS CENTER/ Rodolfo
            known as Miami Beach Medical                                                                                                               Dumenigo, M.D., P.A. (now known as Miami Beach
            Centers, Inc.)                                                                                                                             Medical Centers, Inc.), a Florida professional service
                                                                                                                                                       corporation d/b/a CLINICAL CARE MEDICAL
                                                                                                                                                       CENTERS (“Employer”).
37          MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                  33189 305/251 0345
38          MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                  33189 305/251 0345
39          MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                  33189 305/251 0345
40          MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                  33189 305/251 0345
41          MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                  33189 305/251 0345
42          MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                  33189 305/251 0345
43          MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                  33189 305/251 0345
44          MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                  33189 305/251 0345
45          MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                  33189 305/251 0345
46          MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                  33189 305/251 0345
47          MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                  33189 305/251 0345
48          MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                  33189 305/251 0345
49          MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                  33189 305/251 0345
50          MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                  33189 305/251 0345




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51          MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL     Lease Schedule                                      See #154
                                                                                                                  33189 305/251 0345
52          MB Medical Operations, LLC     Commercial Lease                   BJ's Restaurants, inc               c/o Gregory S. Lynds-EVP & Chief      Access and Parking License Agreement by and            $0.00
                                                                                                                  Devlolpment Officer, 7755 Center      between BJ'sRestaurants, inc. a California
                                                                                                                  Avenue, Suite 300 Huntington Beach,   coporation and MB Medical Operations, LLC a
                                                                                                                  CA 92647                              Florida llc
53          MB Medical Operations, LLC     Meals                              Blessed Kitchen LLC                 810 W Colonial Blvd, Orlando, FL      Purchase Agreement with Clinical Care Medical       $4,031.08
                                                                                                                                                        Centers and Blessed Kitchen, LLC
54          MB Medical Operations, LLC     Meals                              Blessed Kitchen LLC                 810 W Colonial Blvd, Orlando, FL      Purchase Agreement with Clinical Care Medical         See #53
                                                                                                                                                        Centers and Blessed Kitchen, LLC
55          Miami Medical & Wellness       Employment Agreement               Caceres Muskus, Juan                6120 Reese Road                       Employment agreement by and between Juan               $0.00
            Center, LLC                                                                                                                                 Cacares Muskus, M.D., and Miami Medical &
                                                                                                                                                        Wellness Center / Rodolfo Dumenigo, M.D., P.A.
                                                                                                                                                        (now known as Miami Beach Medical Centers, Inc.)
56          Rodolfo Dumenigo, M.D., P.A.   Employment Agreement (Provider) Capote Sarmiento, Rafael               3810 Nw 183rd St                      Employment Agreement                                   $0.00
            (now known as Miami Beach
            Medical Centers, Inc.)
57          MB Medical Operations, LLC     Technology                         CareOptimize                        8700 W Flagler St #400, Miami, FL     Miami Beach Medical Centers Travel Proposal            $0.00
                                                                                                                  33174
58          Miami Beach Medical            Payor contracts                    Careplus Health Plans, Inc.         8200 NW 41 Street, Suite 305 Doral,   Primary Care Agreement                                 $0.00
            Consultants, LLC                                                                                      Florida 33166
59          Miami Beach Medical            Payor contracts                    Careplus Health Plans, Inc.         8200 NW 41 Street, Suite 305 Doral,   Primary Care Agreement                                 $0.00
            Consultants, LLC                                                                                      Florida 33166
60          Care Center Network, LLC       Payor contracts                    Careplus Health Plans, Inc.         11430 NW 20th Street. Suite 200 Doral, Primary Care Agreement                                $0.00
                                                                                                                  Florida 33172 Attn. Provider Operations
                                                                                                                  Department
61          Care Center Medical Group,     Payor contracts                    Careplus Health Plans, Inc.         11430 NW 20th Street. Suite 300 Doral, Primary Care Agreement                                $0.00
            LLC                                                                                                   Florida 33172 Attn. Provider Operations
                                                                                                                  Department
62          Miami Medical & Wellness     Employment Agreement                 Carrate, Mariannee                  12740 Sw 101 Terrace                  Employment Agreement by and between                    $0.00
            Center, LLC / Rodolfo                                                                                                                       Mariannee Carrate, APRN, and Miami Medical &
            Dumenigo, M.D., P.A. (now                                                                                                                   Wellness Center / Rodolfo Dumenigo, M.D., P.A.
            known as Miami Beach Medical                                                                                                                (now known as Miami Beach Medical Centers, Inc.)
            Centers, Inc.)
63          Miami Medical & Wellness     Employment Agreement                 Castaneda, Carlos D                 3183 Southwest 24th Street            EMPLOYMENT AGREEMENT by and between Carlos             $0.00
            Center, LLC / Rodolfo                                                                                                                       Castaneda, PA (“Employee”), and MIAMI MEDICAL
            Dumenigo, M.D., P.A. (now                                                                                                                   & WELLNESS CENTER/ Rodolfo Dumenigo, M.D.,
            known as Miami Beach Medical                                                                                                                P.A. (now known as Miami Beach Medical Centers,
            Centers, Inc.)                                                                                                                              Inc.), a Florida professional service corporation
                                                                                                                                                        d/b/a CLINICAL CARE MEDICAL CENTERS


64          Miami Medical & Wellness     Employment Agreement                 Castellanos Santos, Daili           1091 Southwest 131st Avenue           Employment Agreement by and between Daili              $0.00
            Center, LLC / Rodolfo                                                                                                                       Castellanos Santos, APRN, and Miami Medical &
            Dumenigo, M.D., P.A. (now                                                                                                                   Wellness Center / Rodolfo Dumenigo, M.D., P.A.
            known as Miami Beach Medical                                                                                                                (now known as Miami Beach Medical Centers, Inc.)
            Centers, Inc.)
65          MB Medical Operations, LLC     Commercial Lease                   CCN Holding of Hialeah, LLC         7750 SW 117 Ave Suite 306 Miami, FL   Block Lease Agreement by and between CCN               $0.00
                                                                                                                  United States                         Holding of Hialeah, LLC and MB Medical
                                                                                                                                                        Operations, LLC
66          Miami Medical & Wellness     Employment Agreement                 Celoge, Marie Yolette               19745 E St Andrews Dr                 Employment Agreement by and Between Marie              $0.00
            Center, LLC / Rodolfo                                                                                                                       Celoge, M.D., and Miami Medical & Wellness Center
            Dumenigo, M.D., P.A. (now                                                                                                                   / Rodolfo Dumenigo, M.D., P.A. (now known as
            known as Miami Beach Medical                                                                                                                Miami Beach Medical Centers, Inc.)
            Centers, Inc.)




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67          Miami Medical & Wellness     Employment Agreement                  Cerra Villalobos, Indira           3355 W 68 Street                        Employment Agreement by and between Indira                $0.00
            Center, LLC / Rodolfo                                                                                                                         Cerra Villalobos, APRN, and Miami Medical &
            Dumenigo, M.D., P.A. (now                                                                                                                     Wellness Center / Rodolfo Dumenigo, M.D., P.A.
            known as Miami Beach Medical                                                                                                                  (now known as Miami Beach Medical Centers, Inc.)
            Centers, Inc.)
68          Miami Medical & Wellness     Employment Agreement                  Charles, Jean Philippe             15435 SW 175 Street                     Employment Agreement by and between Jean                  $0.00
            Center, LLC / Rodolfo                                                                                                                         Charles, PA, and Miami Medical & Wellness Center /
            Dumenigo, M.D., P.A. (now                                                                                                                     Rodolfo Dumenigo, M.D., P.A. (now known as
            known as Miami Beach Medical                                                                                                                  Miami Beach Medical Centers, Inc.)
            Centers, Inc.)
69          Miami Beach Medical            Insurance                           Charter Oak Fire Insurance Company One Tower Square, Hartford, CT 06183 Auto Insurance Policy                                        $0.00
            Transport, LLC
70          Miami Beach Medical            Insurance                           Charter Oak Fire Insurance Company One Tower Square, Hartford, CT 06183 Auto Insurance Policy                                        $0.00
            Transport, LLC
71          Rodolfo Dumenigo, M.D., P.A.   Equipment and Financing             CHG-Meridian USA Corp.             21800 Oxnard St. Suite 400, Woodland Master lease agreement by and between CHG-                   $0.00
            (now known as Miami Beach                                                                             Hills, CA 91367                      Meridian USA Corp. and Rodolfo Dumenigo, M.D.,
            Medical Centers, Inc.)                                                                                                                     P.A. (now known as Miami Beach Medical Centers,
                                                                                                                                                       Inc.)
72          MB Medical Operations, LLC     Employment Agreement                Chin, Sharon                       10607 SW 6 St Pembroke Pines, FL        Separation Agreement, Including General Release           $0.00
                                                                                                                  33025                                   between Sharon Chin and MB Medical Operations,
                                                                                                                                                          LLC d/b/a Clinical Care Medical Centers


73          MB Medical Operations, LLC     Commercial Lease                    CITY PROPERTIES COMPANY, INC       110 E. Reynolds Sreet suite 100-A Plant Lease by and between City Properties Co. and MB       $2,100.95
                                                                                                                  City, Florica 33563                     Medical Operations, LLC
74          MB Medical Operations, LLC     Technology                          Clearwater Compliance LLC          40 Burton Hills Blvd #200, Nashville, TN Statement of Work No. 3 Clearwater                       $0.00
                                                                                                                  37215                                    ClearAdvantage® Protect Plus Program
75          MB Medical Operations, LLC     Marketing                           CMG Products Corp.                 6071 NW 7 Street, Suite 175, Miami, FL Consulting Agreement between MBMG Medical                  $0.00
                                                                                                                  33126                                  Centers and CMG Products
76          MB Medical Operations, LLC     Marketing                           CMG Products Corp. & ALBITA        6071 NW 7 Street, Suite 175, Miami, FL Endorsement Agreement between Clinical care                $0.00
                                                                                                                  33126                                  Medical Centers and ALBITA
77          MB Medical Operations, LLC   Other (including Clinical Specialists) Coastal Building Maintenance      8651 NW 70TH ST, MIAMI, FL 33166        Janitorial Services Proposal                          $1,765.50
78          MB Medical Operations, LLC   Other (including Clinical Specialists) Coastal Building Maintenance      8651 NW 70TH ST, MIAMI, FL 33166        Janitorial Services Proposal                            See #77
79          Miami Medical & Wellness     Employment Agreement                   Condit, Alexis Deanna Bravo       1024 NW 9 TER                           Employment Agreement by and between Alexis                $0.00
            Center, LLC / Rodolfo                                                                                                                         Bravo, APRN, and Miami Medical & Wellness Center
            Dumenigo, M.D., P.A. (now                                                                                                                     / Rodolfo Dumenigo, M.D., P.A.
            known as Miami Beach Medical
            Centers, Inc.)
80          Miami Medical & Wellness     Employment Agreement                  Conrado, Carlos                    1355 Sw 7 Street                        Employment Agreement by and between Carlos                $0.00
            Center, LLC / Rodolfo                                                                                                                         Conrado, M.D. and Miami Medical Wellness Center/
            Dumenigo, M.D., P.A. (now                                                                                                                     Rodolfo Dumenigo, M.D., P.A. (now known as
            known as Miami Beach Medical                                                                                                                  Miami Beach Medical Centers, Inc.)
            Centers, Inc.)
81          Florida Family Primary Care    Commercial Lease                    Counsel Square Office Park LLC     c/o Woodside Capital Partners 4200 S.   Lease by and between Counsel Square Office Park           $0.00
            Center of Pasco, LLC                                                                                  Hulen St., Suite 410 Ft. Worth, Texas   LLC and Florida Family Priamry Care Center of
                                                                                                                  76109 Attn: Tim Larson                  Pasco, LLC
82          MB Medical Operations, LLC     Marketing                           Creation Image LLC                 7950 NW 53rd ST #221                    Services Agreement between MB Medical                $37,657.60
                                                                                                                  Miami, FL 33166                         Operations, LLC and Creation Financial DBA BKPO
83          MB Medical Operations, LLC     Telecommunication License Agreem Crown Castle Fiber, LLC               PO Box 28730, New York, NY 10087-       Order Agreement                                           $0.00
                                                                                                                  8730
84          Miami Medical & Wellness     Employment Agreement                  Cuan, Ailsa                        8414 North Paddock Avenue               Employment Agreement by and between Ailsa                 $0.00
            Center, LLC / Rodolfo                                                                                                                         Cuan, M.D., and Miami Medical & Wellness Center /
            Dumenigo, M.D., P.A. (now                                                                                                                     Rodolfo Dumenigo, M.D., P.A. (now known as
            known as Miami Beach Medical                                                                                                                  Miami Beach Medical Centers, Inc.)
            Centers, Inc.)




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85          Miami Medical & Wellness     Employment Agreement                   Cuenca, Michael Steven                12284 Sw 27 Street                         EMPLOYMENT AGREEMENT (this “Agreement”) by              $0.00
            Center, LLC / Rodolfo                                                                                                                                and between Michael Cuenca, M.D. (“Physician”),
            Dumenigo, M.D., P.A. (now                                                                                                                            and MIAMI MEDICAL & WELLNESS CENTER/
            known as Miami Beach Medical                                                                                                                         Rodolfo Dumenigo, M.D., P.A. (now known as
            Centers, Inc.)                                                                                                                                       Miami Beach Medical Centers, Inc.), a Florida
                                                                                                                                                                 professional service corporation d/b/a CLINICAL
                                                                                                                                                                 CARE MEDICAL CENTERS
86          Miami Medical & Wellness     Employment Agreement                   Diaz Cardelle, Tatiana                11620 Southwest 142nd Terrace              Employment Agreement by and between Tatiana             $0.00
            Center, LLC / Rodolfo                                                                                                                                Diaz Cardelle, APRN, and Miami Medical & Wellness
            Dumenigo, M.D., P.A. (now                                                                                                                            Center / Rodolfo Dumenigo, M.D., P.A. (now known
            known as Miami Beach Medical                                                                                                                         as Miami Beach Medical Centers, Inc.)
            Centers, Inc.)
87          Miami Beach Medical           Payor contracts                       Doctors Healthcare Plans, Inc.        2020 Ponce De Leon PH 1 Coral Gables, Primary Care Provider Agreement                              $0.00
            Consultants, LLC                                                                                          FL 33134-4477 Attn: Network
                                                                                                                      Development
88          MB Medical Operations, LLC    Other (including Clinical Specialists) Emilio Alvarez                       6740 SW 78 Terra South Miami, FL           Amendment to Lease by and between Emilio                $0.00
                                                                                                                      33143                                      Alvarez and MB Medical operations, LLC
89          Miami Medical & Wellness     Employment Agreement                   Enriquez Dominguez, Lorayne           11360 Southwest 160th Avenue               Employment Agreement by and between Lorayne             $0.00
            Center, LLC / Rodolfo                                                                                                                                Enriquez, APRN, and Miami Medical & Wellness
            Dumenigo, M.D., P.A. (now                                                                                                                            Center / Rodolfo Dumenigo, M.D., P.A. (now known
            known as Miami Beach Medical                                                                                                                         as Miami Beach Medical Centers, Inc.)
            Centers, Inc.)
90          MB Medical Transport, LLC     Transportation                        Enterprise Fleet Management, Inc      PO BOX 800089 KANSAS CITY, MO              Vehicle Sales Agreement Certificiate                    $0.00
                                                                                                                      United States
91          MB Medical Transport, LLC     Transportation                        Enterprise Fleet Management, Inc      PO BOX 800089 KANSAS CITY, MO              Vehicle Sales Agreement Certificiate                    $0.00
                                                                                                                      United States
92          MB Medical Transport, LLC     Transportation                        Enterprise Fleet Management, Inc      PO BOX 800089 KANSAS CITY, MO              Vehicle Sales Agreement Certificiate                    $0.00
                                                                                                                      United States
93          MB Medical Operations, LLC    Commercial Lease                      FERN STREET PROPERTIES, LLC           12961 Deva St. Coral Gables FL 33156       Commercial Lease Agreement by and between Fern          $0.00
                                                                                                                      c/o Walter L Lista                         Street Properties, LLC and MB Medical Operations,
                                                                                                                                                                 LLC
94          Miami Medical & Wellness     Employment Agreement                   Fernandez Armas, Yaimy                13590 Southwest 98th Street                Employment Agreement by and between Yaimy               $0.00
            Center, LLC / Rodolfo                                                                                                                                Fernandez Armas, APRN, and Miami Medical &
            Dumenigo, M.D., P.A. (now                                                                                                                            Wellness Center / Rodolfo Dumenigo, M.D., P.A.
            known as Miami Beach Medical                                                                                                                         (now known as Miami Beach Medical Centers, Inc.)
            Centers, Inc.)
95          Miami Medical & Wellness     Employment Agreement                   Fernandez Novales, Jorge              2850 Sw 134 Ave                            Employment Agreement by and between Jorge               $0.00
            Center, LLC / Rodolfo                                                                                                                                Fernandez Novales, M.D., and Miami Medical &
            Dumenigo, M.D., P.A. (now                                                                                                                            Wellness Center / Rodolfo Dumenigo, M.D., P.A.
            known as Miami Beach Medical                                                                                                                         (now known as Miami Beach Medical Centers, Inc.)
            Centers, Inc.)
96          Florida Family Primary Care   Employment Agreement                  Figueroa, Yolanda                     4955 Cypress Trace Drive, Tampa, FL        Employment Agreement by and Between Florida             $0.00
            Centers of Pinellas, LLC /                                                                                33624                                      Family Primary Care Center of Pasco, LLC, Florida
            Florida Family Primary Care                                                                                                                          Family Primary Care Centers of Pinellas, LLC, and
            Centers of Tampa, LLC                                                                                                                                Florida Family Primary Care Centers of Tampa, LLC,
                                                                                                                                                                 and Yolanda Figueroa, M.D.
97          MB Medical Operations, LLC    Other (including Clinical Specialists) First Spanish Church of the Open Bibl 490 E. 50 Street Hialeah, Florida 33013   Contract for Parking Spaces between First Spanish    $2,000.00
                                                                                                                                                                 Church of the Open Bible, Inc. and Miami Beach
                                                                                                                                                                 Medical Group, Inc.
98          Miami Medical & Wellness     Employment Agreement                   Flores Iglesias, Carlos               16269 Sw 44Th Street                       Employment Agreement by and between Carlos              $0.00
            Center, LLC / Rodolfo                                                                                                                                Flores Iglesias, PA, and Miami Medical & Wellness
            Dumenigo, M.D., P.A. (now                                                                                                                            Center / Rodolfo Dumenigo, M.D., P.A. (now known
            known as Miami Beach Medical                                                                                                                         as Miami Beach Medical Centers, Inc.)
            Centers, Inc.)




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99          Miami Beach Medical            Other (including Clinical Specialists) Florida Behavioral Center, Inc. d/b/a FFlorida Behavioral Center Inc. d/b/a      Staffing Services Agreement between Florida          $0.00
            Consultants, LLC                                                                                             Florida Healthcare System 1905 NW         Behavioral Center, Inc and Miami Beach Medical
                                                                                                                         82nd Ave, Doral Florida 33126 8400        Consultants
                                                                                                                         NW 33 Street, Suite 201, Doral, Florida
                                                                                                                         33122


101         Miami Medical & Wellness     Employment Agreement                    Fonseca, Sailin                        4010 Boatman ave                           Employment Agreement by and between Sailin           $0.00
            Center, LLC / Rodolfo                                                                                                                                  Fonseca, APRN, and Miami Medical & Wellness
            Dumenigo, M.D., P.A. (now                                                                                                                              Center / Rodolfo Dumenigo, M.D., P.A. (now known
            known as Miami Beach Medical                                                                                                                           as Miami Beach Medical Centers, Inc.)
            Centers, Inc.)
102         Miami Beach Medical            Vendor Agreements                     Foot & Ankle Network, Inc. d/b/a Aliv 5775 Blue Lagoon Drive, Ste. 450,           Alivi Podiatry Network Provider Agreement            $0.00
            Consultants, LLC                                                                                            Miami, FL 33125, Attn: President
103         Rodolfo Dumenigo, M.D., P.A.   Employment Agreement                  Franco, Manuel                         6301 Collins Avenue                        EMPLOYMENT AGREEMENT                                 $0.00
            (now known as Miami Beach                                                                                                                              BETWEEN Rodolfo Dumenigo, M.D., P.A. (now
            Medical Centers, Inc.)                                                                                                                                 known as Miami Beach Medical Centers, Inc.), d/b/a
                                                                                                                                                                   MIAMI BEACH MEDICAL GROUP, a Florida
                                                                                                                                                                   prolessional association
                                                                                                                                                                   AND MANUEL A. FRANCO, M.D.
104         Miami Beach Medical            Payor contracts                       Freedom Health, Inc.                   Attn: Provider Relations 4200 West    Group Participant Agreement                               $0.00
            Consultants, LLC                                                                                            Cyprus St. Suite 1000 Tampa, FL 33607


105         Miami Medical & Wellness     Employment Agreement                    Garcia Rodriguez, Francisco            5316 Sw 152 Court                          Employment Agreement by and between Francisco        $0.00
            Center, LLC / Rodolfo                                                                                                                                  Garcia Rodriguez, APRN, and Miami Medical &
            Dumenigo, M.D., P.A. (now                                                                                                                              Wellness Center / Rodolfo Dumenigo, M.D., P.A.
            known as Miami Beach Medical                                                                                                                           (now known as Miami Beach Medical Centers, Inc.)
            Centers, Inc.)
106         Miami Medical & Wellness     Employment Agreement                    Garcia, Emelio                         8071 Sw 159Th Ct                           Employment Agreement by and between Emelio           $0.00
            Center, LLC / Rodolfo                                                                                                                                  Garcia, APRN, and Miami Medical & Wellness
            Dumenigo, M.D., P.A. (now                                                                                                                              Center / Rodolfo Dumenigo, M.D., P.A. (now known
            known as Miami Beach Medical                                                                                                                           as Miami Beach Medical Centers, Inc.)
            Centers, Inc.)
107         MB Medical Operations, LLC     Commercial Lease                      Gardens Office Complex, LLC            C/o Horizon Properties 7785 N.W.           Lease by and between Gardens Office Complex,         $0.00
                                                                                                                        146th Street Miami Lakes, FL 33016         LLC, and MB Medical Operations, LLC
108         Miami Medical & Wellness     Employment Agreement                    Gomez, Julio Orlando                   5050 W 22 Ct                               Employment agreement by and between Julio            $0.00
            Center, LLC / Rodolfo                                                                                                                                  Gomez, M.D., and Miami Medical & Wellness
            Dumenigo, M.D., P.A. (now                                                                                                                              Center / Rodolfo Dumenigo, M.D., P.A. (now known
            known as Miami Beach Medical                                                                                                                           as Miami Beach Medical Centers, Inc.)
            Centers, Inc.)
109         Rodolfo Dumenigo, M.D., P.A.   Technology                            Greenway Health, LLC                   4301 West Boy Scout Boulevard, Ste         LIST OF MIGRATED ASSETS PURCHASE SCHEDULE -          $0.00
            (now known as Miami Beach                                                                                   800 Tampa, FL 33607 Attention: Legal       SIGNATURE PAGE
            Medical Centers, Inc.)                                                                                      Department
110         Miami Medical & Wellness     Employment Agreement                    Guerra, Rene                           6575 W 4th Ave                             Employment Agreement between Miami Medical &         $0.00
            Center, LLC / Rodolfo                                                                                                                                  Wellness Center / Rodolfo Dumenigo, M.D., P.A.
            Dumenigo, M.D., P.A. (now                                                                                                                              (now known as Miami Beach Medical Centers,
            known as Miami Beach Medical                                                                                                                           Inc.)d/b/a Miami Beach Medical Group and Rene
            Centers, Inc.)                                                                                                                                         Guerra, MD
111         Rodolfo Dumenigo, M.D., P.A.   Other (including Clinical Specialists) Gumenick Family Investments No. 2 L959 West Avenue, Miami Beach, Florida Monthly Parking Agreement between Gumenick                   $0.00
            (now known as Miami Beach                                                                                33139                                 Family Investments No. 2 Ltd. and Rodolfo
            Medical Centers, Inc.)                                                                                                                         Dumenigo MD PA




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112      Miami Medical & Wellness     Employment Agreement                   Gutierrez Diaz, Adys I                3102 West Henry Avenue                   EMPLOYMENT AGREEMENT by and between Adys                 $0.00
         Center, LLC / Rodolfo                                                                                                                              Gutierrez, APRN (“Employee”), and MIAMI MEDICAL
         Dumenigo, M.D., P.A. (now                                                                                                                          & WELLNESS CENTER/ Rodolfo Dumenigo, M.D.,
         known as Miami Beach Medical                                                                                                                       P.A. (now known as Miami Beach Medical Centers,
         Centers, Inc.)                                                                                                                                     Inc.), a Florida professional service corporation
                                                                                                                                                            d/b/a CLINICAL CARE MEDICAL CENTERS


113      MB Medical Operations, LLC     Other (including Clinical Specialists) Healthcare Environmental Services   Healthcare Environmental Services, LLC HEALTHCARE ENVIRONMENTAL SERVICES                          $0.00
                                                                                                                   8496 NW 61 Street, Miami, Florida       DOCUMENT DESTRUCTION SERVICES AGREEMENT
                                                                                                                   33166 Attention: Contract Administrator


114      MB Medical Operations, LLC     Other (including Clinical Specialists) Healthcare Environmental Services   Healthcare Environmental Services, LLC HEALTHCARE ENVIRONMENTAL SERVICES                          $0.00
                                                                                                                   8496 NW 61 Street, Miami, Florida       DOCUMENT DESTRUCTION SERVICES AGREEMENT
                                                                                                                   33166 Attention: Contract Administrator


115      MB Medical Operations, LLC     Other (including Clinical Specialists) Healthcare Environmental Services   Healthcare Environmental Services, LLC HEALTHCARE ENVIRONMENTAL SERVICES                          $0.00
                                                                                                                   8496 NW 61 Street, Miami, Florida       DOCUMENT DESTRUCTION SERVICES AGREEMENT
                                                                                                                   33166 Attention: Contract Administrator


116      MB Medical Operations, LLC     Other (including Clinical Specialists) Healthcare Environmental Services   Healthcare Environmental Services, LLC HEALTHCARE ENVIRONMENTAL SERVICES                          $0.00
                                                                                                                   8496 NW 61 Street, Miami, Florida       DOCUMENT DESTRUCTION SERVICES AGREEMENT
                                                                                                                   33166 Attention: Contract Administrator


117      Miami Beach Medical            Payor contracts                      HealthSun Physicians Network I, LLC HealthSun Physician Network I, LLC         Primary Care Physician Network Agreement                 $0.00
         Consultants, LLC                                                                                        3250 Mary Street, Suite 300 Coconut
                                                                                                                 Grove, Florida 33133 Attn: President
118      Miami Medical & Wellness     Employment Agreement                   Hernandez Perez, Javier               3105 Oakland Shores Drive                Employment Agreement by and between Javier               $0.00
         Center, LLC / Rodolfo                                                                                                                              Hernandez, APRN, and Miami Medical & Wellness
         Dumenigo, M.D., P.A. (now                                                                                                                          Center / Rodolfo Dumenigo, M.D., P.A. (now known
         known as Miami Beach Medical                                                                                                                       as Miami Beach Medical Centers, Inc.)
         Centers, Inc.)
119      MB Medical Operations, LLC     Equipment and Financing              Highland Capital Corp                 1 Passaic Ave., Fairfield NJ 07004       Equipment Lease Agreement                                $0.00
121      MB Medical Operations, LLC     Commercial Lease                     Horus International Corp LLC          13231 Byrd Legg Drive Odessa, Florida    Lease by and between Horus International             $5,826.61
                                                                                                                   33556                                    Coportaion, llc and Clinical Care Medial Centers
122      MBMG Holding, LLC              Professional Fees                    Houlihan Lokey Financial Advisors, Inc3060 Peachtree Road NW, Ste 1500,        Engagement Letter (GWI, MIU)                             $0.00
                                                                                                                   15th Floor Atlanta, GA 30305
123      Rodolfo Dumenigo, M.D., P.A.   Payor contracts                      Humana Insurance Company, Human Humana Inc. PO Box 1438 Louisville,            Independent Practice Association Participation           $0.00
         (now known as Miami Beach                                                                           Kentucky 40201-1438 Attn: Law                  Agreement
         Medical Centers, Inc.)                                                                              Department
124      Rodolfo Dumenigo, M.D., P.A.   Payor contracts                      Humana Insurance Company, Human Humana Inc. PO Box 1438 Louisville,            Physcian Participation Agreement                         $0.00
         (now known as Miami Beach                                                                           Kentucky 40201-1438 Attn: Law
         Medical Centers, Inc.)                                                                              Department
125      Miami Beach Medical            Payor contracts                      Humana Insurance Company, Human 500 West Main Street Louisville,               Settlement and Release Agreement                         $0.00
         Consultants, LLC                                                                                    Kentucky 40202 Attn: Law Department
126      Miami Beach Medical            Payor contracts                      Humana Pharmacy, Inc.                 500 West Main Street Louisville,         Master Over-the-Counter Product Ordering                 $0.00
         Consultants, LLC                                                                                          Kentucky 40202 Attn: Law Department      Agreement
127      Miami Beach Medical            Vendor Agreements                    iCare Health Solutions, LLC           7600 Corporate Center Drive, Ste. 200,   Individual Provider Agreement                            $0.00
         Consultants, LLC                                                                                          Miami, FL 33126
128      MB Medical Operations, LLC     Services Agreement                   j2 Cloud Services, LLC                6922 Hollywood Blvd., Suite 500 Los      Services Agreement                                       $0.00
                                                                                                                   Angeles, CA 90028 Attn: Legal
                                                                                                                   Department
129      MB Medical Operations, LLC     Technology                           JAM INFOSYS, LLC d/b/a AANEEL         6650 Gunn Hwy Tampa, FL 33556            AANEEL HEALTH SERVICES AGREEMENT between            $46,806.08
                                                                             HEALTH SERVICES                       United States of America                 Jam Infosys, LLC and Clincal Care Medical Centers
130      MB Medical Operations, LLC     Employment Agreement                 JCL Advisory, LLC                     9341 SW 57 Ter, Miami, FL 33173          Independent Contractor Agreement                         $0.00




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131      Rodolfo Dumenigo, M.D., P.A.   Other (including Clinical Specialists) JMO Group, LLC.                  5120 Fallen Leaf Dr, Riverview, FL 33578 INDEPENDENT CONTRACTOR AGREEMENT                       $0.00
         (now known as Miami Beach
         Medical Centers, Inc.)
132      MB Medical Operations, LLC     Other (including Clinical Specialists) Joshua Manbor                    9595 Collins Ave Apt 408 Miami Beach, BUSINESS ASSOCIATE AGREEMENT                              $0.00
                                                                                                                FL United States
133      MB Medical Operations, LLC     Equipment and Financing               Konica Minolta Payment Services   Konica Minolta Healthcare Americas,    Master Subsciption Agreement between Customer            $0.00
                                                                                                                Inc. 411 Newark Pompton Turnpike       and Konica Minolta Payment Services
                                                                                                                Wayne, NJ 07470-0934
134      Miami Medical & Wellness     Employment Agreement                    Labrada Viera, Osmel              585 West 25th Street                   Employment Agreement                                     $0.00
         Center, LLC / Rodolfo
         Dumenigo, M.D., P.A. (now
         known as Miami Beach Medical
         Centers, Inc.)
135      MB Medical Operations, LLC     Commercial Lease                      LAKELAND INVESTMENTS LLC          222 Poinciana Dr. Sunny Isles Beach,   Lease agreement by and between Lakeland                  $0.00
                                                                                                                Florida 33160                          Investments, LLC and MB Medical Operations, LLC
136      MB Medical Operations, LLC     Dental Contracts (LHA)                LHA Smiles Design, Inc.           9460 SW 6th Lane Miami, FL 33174       Dental Services Participation and Management             $0.00
                                                                                                                                                       Agreement by and among MB Medical Operations,
                                                                                                                                                       LLC and its Subsidiaries ("MBMG") and LHA Smiles
                                                                                                                                                       Design, Inc.
137      Florida Family Primary Care    Dental Contracts (LHA)                LHA Smiles Design, Inc.           9460 SW 6th Lane Miami, FL 33174       Dental Services Participation and Management             $0.00
         Center, LLC                                                                                                                                   Agreement by and among MB Medical Operations,
                                                                                                                                                       LLC and its Subsidiaries ("MBMG") and LHA Smiles
                                                                                                                                                       Design, Inc.
138      Rodolfo Dumenigo, M.D., P.A.   Other (including Clinical Specialists) Life Radiology                   3470 NW 82 AVE, STE 119 Doral, FL      Letter of Agreement for Radiology Services               $0.00
         (now known as Miami Beach                                                                              33122                                  between Clinical Care and Life Radiology
         Medical Centers, Inc.)
139      MB Medical Operations, LLC     Technology                            Lightbeam Health Solutions        222 W Las Colinas Blvd. #2200n, Irving, Lightbeam Health Solutions Order Form              $53,244.38
                                                                                                                TX 75039
140      MB Medical Operations, LLC     Commercial Lease                      Lillian Loeffler QTIP Trust       6 Cayuga Road, Fort Lauderdale, Florida Lease between MB Medical Operations llc and             $0.00
                                                                                                                33308                                   Lillian Loeffler QTIP Trust
141      MBMG Ultimate Holding, LP      Professional Fees                     LOCKTON COMPANIES                 4725 PIEDMONT ROW DR STE 510           PREMIUM FINANCE AGREEMENT (24000322)                     $0.00
                                                                              LLC/CHARLOTTE                     CHARLOTTE,NC 28210
142      MBMG Ultimate Holding, LP      Professional Fees                     LOCKTON COMPANIES                 4725 PIEDMONT ROW DR STE 510           PREMIUM FINANCE AGREEMENT (24000322)                     $0.00
                                                                              LLC/CHARLOTTE                     CHARLOTTE,NC 28210
143      Miami Medical & Wellness     Employment Agreement                    Lopez, Esdras                     9805 SW 77 Place                       Employment Agreement between Miami Medical &             $0.00
         Center, LLC / Rodolfo                                                                                                                         Wellness Center / Rodolfo Dumenigo, M.D., P.A.
         Dumenigo, M.D., P.A. (now                                                                                                                     (now known as Miami Beach Medical Centers,
         known as Miami Beach Medical                                                                                                                  Inc.)and Esdras Lopez, MD
         Centers, Inc.)
144      Miami Medical & Wellness     Employment Agreement                    Lugo Rodriguez, Randy             710 nw 14th ave                        Employment Agreement by and between Randy                $0.00
         Center, LLC / Rodolfo                                                                                                                         Lugo, APRN, and Miami Medical & Wellness Center
         Dumenigo, M.D., P.A. (now                                                                                                                     / Rodolfo Dumenigo, M.D., P.A. (now known as
         known as Miami Beach Medical                                                                                                                  Miami Beach Medical Centers, Inc.)
         Centers, Inc.)
145      MB Medical Transport, LLC      Transportation                        Lyft Healthcare, Inc.             185 Berry Street, Suite 5000 San       Lyft business agreement by and between MB          $411,972.58
                                                                                                                Francisco, CA 94107                    Medical Transport LLC and Lyft Healthcare Inc
146      Miami Beach Medical            Vendor Agreements                     Magellan Healthcare, Inc.         14100 Magellan Plaza, Maryland         Network Provider Agreement                               $0.00
         Consultants, LLC                                                                                       Heights, MO 63043
147      Miami Medical & Wellness     FIRST AMENDMENT TO EMPLOYME Maldonado, Lilliam Vazquez                    PO Box 772036 Orlando, FL 32877        Employment Agreement by and between Lilliam              $0.00
         Center, LLC / Rodolfo                                                                                                                         Vazquez Maldonado, M.D., and Miami Medical &
         Dumenigo, M.D., P.A. (now                                                                                                                     Wellness Center / Rodolfo Dumenigo, M.D., P.A.
         known as Miami Beach Medical                                                                                                                  (now known as Miami Beach Medical Centers, Inc.)
         Centers, Inc.)
148      MB Medical Operations, LLC     Commercial Lease                      Marion Simmons                    507 Sandalwood Drive Plant City, FL    Commecial lease by and between Marion Simmons        $8,378.66
                                                                                                                33563                                  and MB Medical Operations




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149      Rodolfo Dumenigo, M.D., P.A.   Other (including Clinical Specialists) Marper, pllc                      7060 NW 75 St Parkland, FL 33067        INDEPENDENT CONTRACTOR AGREEMENT                           $0.00
         (now known as Miami Beach
         Medical Centers, Inc.)
150      Rodolfo Dumenigo, M.D., P.A.   Separation Agreement                  Martinez-Negron, Melanie           7444 Palm River Rd Tampa, FL 33619      Employment Agreement by and between JMO                    $0.00
         (now known as Miami Beach                                                                                                                       Group, LLC, and Rodolfo Dumenigo, M.D., P.A. (now
         Medical Centers, Inc.)                                                                                                                          known as Miami Beach Medical Centers, Inc.)
151      Miami Medical & Wellness     Employment Agreement                    Matos, Rafael                      4604 Netherwood Drive                   Employment Agreement by and between Rafael                 $0.00
         Center, LLC / Rodolfo                                                                                                                           Matos, APRN, and Miami Medical & Wellness
         Dumenigo, M.D., P.A. (now                                                                                                                       Center / Rodolfo Dumenigo, M.D., P.A. (now known
         known as Miami Beach Medical                                                                                                                    as Miami Beach Medical Centers, Inc.)
         Centers, Inc.)
152      Rodolfo Dumenigo, M.D., P.A.   Other (including Clinical Specialists) McKesson Medical-Surgical Inc.    9954 Mayland Drive, Suite 4000,         Product Supply Agreement                             $170,880.34
         (now known as Miami Beach                                                                               Richmond, Virginia 23233
         Medical Centers, Inc.)
153      Miami Beach Medical            Payor contracts                       Medica Healthcare Plans, Inc.      9100 S. Dadeland Blvd., Suite 1250      Network Risk Agreement                                     $0.00
         Consultants, LLC                                                                                        Miami, FL 33156-7838
154      MB Medical Transport, LLC      Equipment and Financing (MercedesMercedez Benz of Cutler Bay             10701 SW 211th St. Cutler Bay, FL       RETAIL INSTALLMENT SALE CONTRACT - SIMPLE             $24,453.46
                                                                                                                 33189 305/251 0345                      FINANCE CHARGE (WITH ARBITRATION
                                                                                                                                                         PROVISION) (VIN W1Z4EGHY1MT080183)
155      MB Medical Transport, LLC      Equipment and Financing (MercedesMercedez Benz of Cutler Bay             10701 SW 211th St. Cutler Bay, FL       RETAIL INSTALLMENT SALE CONTRACT - SIMPLE               See #154
                                                                                                                 33189 305/251 0345                      FINANCE CHARGE (WITH ARBITRATION
                                                                                                                                                         PROVISION) (VIN W1Z4EGHY1MT080183)
156      MB Medical Transport, LLC      Equipment and Financing (MercedesMercedez Benz of Cutler Bay             10701 SW 211th St. Cutler Bay, FL       RETAIL INSTALLMENT SALE CONTRACT - SIMPLE               See #154
                                                                                                                 33189 305/251 0345                      FINANCE CHARGE (WITH ARBITRATION
                                                                                                                                                         PROVISION) (VIN W1Z4EGHY1MT080183)
157      MB Medical Transport, LLC      Equipment and Financing (MercedesMercedez Benz of Cutler Bay             10701 SW 211th St. Cutler Bay, FL       RETAIL INSTALLMENT SALE CONTRACT - SIMPLE               See #154
                                                                                                                 33189 305/251 0345                      FINANCE CHARGE (WITH ARBITRATION
                                                                                                                                                         PROVISION) (VIN W1Z4EGHY1MT080183)
158      MB Medical Transport, LLC      Equipment and Financing (MercedesMercedez Benz of Cutler Bay             10701 SW 211th St. Cutler Bay, FL       RETAIL INSTALLMENT SALE CONTRACT - SIMPLE               See #154
                                                                                                                 33189 305/251 0345                      FINANCE CHARGE (WITH ARBITRATION
                                                                                                                                                         PROVISION) (VIN W1Z4EGHY1MT080183)
159      MB Medical Transport, LLC      Equipment and Financing (MercedesMercedez Benz of Cutler Bay             10701 SW 211th St. Cutler Bay, FL       RETAIL INSTALLMENT SALE CONTRACT - SIMPLE               See #154
                                                                                                                 33189 305/251 0345                      FINANCE CHARGE (WITH ARBITRATION
                                                                                                                                                         PROVISION) (VIN W1Z4EGHY1MT080183)
160      MB Medical Transport, LLC      Equipment and Financing (MercedesMercedez Benz of Cutler Bay             10701 SW 211th St. Cutler Bay, FL       RETAIL INSTALLMENT SALE CONTRACT - SIMPLE               See #154
                                                                                                                 33189 305/251 0345                      FINANCE CHARGE (WITH ARBITRATION
                                                                                                                                                         PROVISION) (VIN W1Z4EGHY1MT080183)
161      MB Medical Transport, LLC      Equipment and Financing (MercedesMercedez Benz of Cutler Bay             10701 SW 211th St. Cutler Bay, FL       RETAIL INSTALLMENT SALE CONTRACT - SIMPLE               See #154
                                                                                                                 33189 305/251 0345                      FINANCE CHARGE (WITH ARBITRATION
                                                                                                                                                         PROVISION) (VIN W1Z4EGHY1MT080183)
162      Rodolfo Dumenigo, M.D., P.A.   Other (including Clinical Specialists) Mia Lab Inc.                      2129 West 76 St, Hialeah, FL 33016      CONTRACT                                              $25,916.52
         (now known as Miami Beach
         Medical Centers, Inc.)
163      Rodolfo Dumenigo, M.D., P.A.   Vendor Agreements                     Miami Lab Inc.                     2916 N Miami Avenue Suite 10C Miami, Contract                                                      $0.00
         (now known as Miami Beach                                                                               FL 33127
         Medical Centers, Inc.)
164      MB Medical Operations, LLC     Commercial Lease                      Miami Metro Medical LLC            1200 Alton Road, Miami Beach, FL        Lease by and between 12550 Biscayne, LLC a Florida         $0.00
                                                                                                                 33139                                   llc and MB Medical Operations, LLC a Delaware llc


167      Rodolfo Dumenigo, M.D., P.A.   Other (including Clinical Specialists) Mobile Vision Doctors, LLC        1315 Silk Oak Dr. Hollywood, FL 33021 Professional Services Agreement between Clinical             $0.00
         (now known as Miami Beach                                                                                                                     Care Medical Centers and Mobile vision Doctors,
         Medical Centers, Inc.)                                                                                                                        LLC
168      Rodolfo Dumenigo, M.D., P.A.   Vendor Agreements                     Mobile Vision Doctors, LLC         Attn: Dr. Ryan C. Verxagio, 1315 Silk   Professional Services Agreement between Clinical           $0.00
         (now known as Miami Beach                                                                               Oak Drive, Hollywood, FL 33021;         Care Medical Centers and Mobile vision Doctors,
         Medical Centers, Inc.)                                                                                  mobilevisiondoctors@gmail.com           LLC




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169      Miami Beach Medical            Payor contracts                     Molina Healthcare of Florida, Inc.    Molina Healthcare of Florida, Inc. 8300   Group Services Agreement                                    $0.00
         Consultants, LLC                                                                                         NW 33rd Street, Ste. 400 Doral, FL
                                                                                                                  33122 Attention: President
170      Miami Medical & Wellness       Employment Agreement                Mora, Abel                            8917 Northwest 146th Terrace              EMPLOYMENT AGREEMENT AND PROTOCOL                           $0.00
         Center, LLC / Rodolfo                                                                                                                              BETWEEN MIAMI MEDICAL &WELLNESS CENTER /
         Dumenigo, M.D., P.A. (now                                                                                                                          Rodolfo Dumenigo, M.D., P.A. (now known as
         known as Miami Beach Medical                                                                                                                       Miami Beach Medical Centers, Inc.), d/b/a MIAMI
         Centers, Inc.)                                                                                                                                     BEACH MEDICAL GROUP AND ABEL MORA, APRN


171      Miami Beach Medical            Vendor Agreements                   NCH Management Systems, Inc.          11000 SW 104 St # 161092 Miami, FL        Provider Agreement                                          $0.00
         Consultants, LLC                                                                                         33116
172      MB Medical Operations, LLC     Technology                          NextGen Healthcare Inc.               18111 Von Karman Ave, Suite 600           Supplemental Order Form (PG-2022-255291)              $749,891.64
                                                                                                                  Irvine, California 92612
173      MB Medical Operations, LLC     Technology                          NextGen Healthcare Inc.               18111 Von Karman Ave, Suite 600           Supplemental Order Form (PG-2022-255291)                 See #172
                                                                                                                  Irvine, California 92612
174      MB Medical Operations, LLC     Technology                          NextGen Healthcare Inc.               18111 Von Karman Ave, Suite 600           Supplemental Order Form (PG-2022-255291)                 See #172
                                                                                                                  Irvine, California 92612
175      MB Medical Operations, LLC     Employment Agreement                Nunez, Salvador                       8035 Diamond Creek Ln Lakeland, FL        Separation Agreement, Including General Release             $0.00
                                                                                                                  33809                                     between Salvador Nunez and MB Medical
                                                                                                                                                            Operations, LLC d/b/a Clinical Care Medical Centers


176      MB Medical Operations, LLC     Other (including Clinical Specialists) Olympia Heights Methodist Church   1400 NW 107 Ave, Suite 500 Doral, Fl      Contract for Parking Spaces between Olympia                 $0.00
                                                                                                                  33172                                     Heights Methodist Church and MB Medical
                                                                                                                                                            Operations, LLC
177      Miami Beach Medical            Payor contracts                     Optimum Healthcare, Inc.              Attn: Provider Relations 4200 West    Group Participant Agreement                                     $0.00
         Consultants, LLC                                                                                         Cyprus St. Suite 1000 Tampa, FL 33607


178      MB Medical Operations, LLC     Technology                          Oracle America, Inc.                  2300 Oracle Way Austin, TX 78741          Payment Schedule for MB Medical Operations, LLC             $0.00


179      Miami Medical & Wellness     Employment Agreement                  Otano Ramon, Yanin                    549 Northeast 35th Avenue                 Employment Agreement by and between Yanin                   $0.00
         Center, LLC / Rodolfo                                                                                                                              Otano Sanchez, APRN, and Miami Medical &
         Dumenigo, M.D., P.A. (now                                                                                                                          Wellness Center / Rodolfo Dumenigo, M.D., P.A.
         known as Miami Beach Medical                                                                                                                       (now known as Miami Beach Medical Centers, Inc.)
         Centers, Inc.)
180      Miami Medical & Wellness     Employment Agreement                  Padilla Ayala, Luisa                  13607 Fawn Ridge Blvd                     Employment Agreement by and between Luisa                   $0.00
         Center, LLC / Rodolfo                                                                                                                              Padilla Ayala, APRN, and Miami Medical & Wellness
         Dumenigo, M.D., P.A. (now                                                                                                                          Center / Rodolfo Dumenigo, M.D., P.A. (now known
         known as Miami Beach Medical                                                                                                                       as Miami Beach Medical Centers, Inc.)
         Centers, Inc.)
181      MB Medical Operations, LLC     Commercial Lease                    Palm River Square Associates, LLC     7978 Cooper Creek Boulevard,              Lease by and between Palm River Square Asociates,           $0.00
                                                                                                                  University Park, Florida 34201            llc and MB Medical Operations, llc
182      MB Medical Operations, LLC     Equipment and Financing             Patterson Dental Supply, Inc.         1031 Mendota Heights Road Attn:           Installment Sale Contract between Patterson Dental          $0.00
                                        (Patterson Dental Supply)                                                 Equip Finance St Paul MN 55120            Supply, Inc and Richard Charles Lage/MB Medical
                                                                                                                                                            Operations, LLC for delivery to 151 NW 11 St.
                                                                                                                                                            Homestead, FL 33030-4360
183      MB Medical Operations, LLC     Equipment and Financing             Patterson Dental Supply, Inc.         1031 Mendota Heights Road Attn:           Installment Sale Contract between Patterson Dental          $0.00
                                        (Patterson Dental Supply)                                                 Equip Finance St Paul MN 55120            Supply, Inc and Richard Charles Lage/MB Medical
                                                                                                                                                            Operations, LLC for delivery to 151 NW 11 St.
                                                                                                                                                            Homestead, FL 33030-4360
184      MB Medical Operations, LLC     Equipment and Financing             Patterson Dental Supply, Inc.         1031 Mendota Heights Road Attn:           Installment Sale Contract between Patterson Dental          $0.00
                                        (Patterson Dental Supply)                                                 Equip Finance St Paul MN 55120            Supply, Inc and Richard Charles Lage/MB Medical
                                                                                                                                                            Operations, LLC for delivery to 151 NW 11 St.
                                                                                                                                                            Homestead, FL 33030-4360




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185      MB Medical Operations, LLC     Equipment and Financing              Patterson Dental Supply, Inc.        1031 Mendota Heights Road Attn:          Installment Sale Contract between Patterson Dental     $0.00
                                        (Patterson Dental Supply)                                                 Equip Finance St Paul MN 55120           Supply, Inc and Richard Charles Lage/MB Medical
                                                                                                                                                           Operations, LLC for delivery to 151 NW 11 St.
                                                                                                                                                           Homestead, FL 33030-4360
186      MB Medical Operations, LLC     Equipment and Financing              Patterson Dental Supply, Inc.        1031 Mendota Heights Road Attn:          Installment Sale Contract between Patterson Dental     $0.00
                                        (Patterson Dental Supply)                                                 Equip Finance St Paul MN 55120           Supply, Inc and Richard Charles Lage/MB Medical
                                                                                                                                                           Operations, LLC for delivery to 151 NW 11 St.
                                                                                                                                                           Homestead, FL 33030-4360
187      MB Medical Operations, LLC     Equipment and Financing              Patterson Dental Supply, Inc.        1031 Mendota Heights Road Attn:          Installment Sale Contract between Patterson Dental     $0.00
                                        (Patterson Dental Supply)                                                 Equip Finance St Paul MN 55120           Supply, Inc and Richard Charles Lage/MB Medical
                                                                                                                                                           Operations, LLC for delivery to 151 NW 11 St.
                                                                                                                                                           Homestead, FL 33030-4360
188      MB Medical Operations, LLC     Equipment and Financing              Patterson Dental Supply, Inc.        1031 Mendota Heights Road Attn:          Installment Sale Contract between Patterson Dental     $0.00
                                        (Patterson Dental Supply)                                                 Equip Finance St Paul MN 55120           Supply, Inc and Richard Charles Lage/MB Medical
                                                                                                                                                           Operations, LLC for delivery to 151 NW 11 St.
                                                                                                                                                           Homestead, FL 33030-4360
189      Miami Medical & Wellness     Employment Agreement                   Pebe Florian, Claudia Esther         2400 sw 113 court                        Employment Agreement by and between Claudia            $0.00
         Center, LLC / Rodolfo                                                                                                                             Pebe Florian, M.D. (“Physician”), and MIAMI
         Dumenigo, M.D., P.A. (now                                                                                                                         MEDICAL & WELLNESS CENTER/ Rodolfo
         known as Miami Beach Medical                                                                                                                      Dumenigo, M.D., P.A. (now known as Miami Beach
         Centers, Inc.)                                                                                                                                    Medical Centers, Inc.)
190      Miami Medical & Wellness     Employment Agreement                   Perez, Reynaldo                      8440 Sw 8Th St                           Employment Agreement by and Between Reynaldo           $0.00
         Center, LLC / Rodolfo                                                                                                                             Perez, M.D., and Miami Medical & Wellness Center /
         Dumenigo, M.D., P.A. (now                                                                                                                         Rodolfo Dumenigo, M.D., P.A. (now known as
         known as Miami Beach Medical                                                                                                                      Miami Beach Medical Centers, Inc.)
         Centers, Inc.)
191      Miami Medical & Wellness     Employment Agreement                   Pimentel, Haydee                     6726 Hanley Rd Tampa, FL 33634           Employment Agreement by and between Haydee             $0.00
         Center, LLC / Rodolfo                                                                                                                             Pimentel, APRN, and Miami Medical & Wellness
         Dumenigo, M.D., P.A. (now                                                                                                                         Center / Rodolfo Dumenigo, M.D., P.A. (now known
         known as Miami Beach Medical                                                                                                                      as Miami Beach Medical Centers, Inc.)
         Centers, Inc.)
192      Miami Beach Medical            Payor contracts                      Preferred Care Partners, INC         9100 S. Dadeland Blvd., Suite 1250       Network Risk Agreement                                 $0.00
         Consultants, LLC                                                                                         Miami, FL 33156-7838
193      Florida Family Primary Care    Commercial Lease                     Prestige Park LLC                    3285 East Ruby Hill Drive, Pleasanton,   Business Lease between the Prestige Park LLC and       $0.00
         Centers of Pinellas, LLC                                                                                 California 94566                         Florida Family Primary Care Centers of Pinellas LLC


194      MB Medical Operations, LLC     Equipment and Financing              Prohealth Capital,                   1111 Old Eagle School Road, Wayne,       Finance Agreement by and between MB Medical            $0.00
                                                                                                                  Pennsylvania 19087                       Operations and ProHealth Capital
195      Miami Beach Medical            Vendor Agreements                    QMHC d/b/a Alivi Health              2221 N University Dr Pembroke Pines,     Provider Agreement                                     $0.00
         Consultants, LLC                                                                                         FL 33024
196      Miami Beach Medical            Vendor Agreements                    Quality Managed Health Care, Inc. d/ 5775 Blue Lagoon Drive, Ste. 450,        Alivi Chiro Network Provider Agreement                 $0.00
         Consultants, LLC                                                                                         Miami, FL 33125, Attn: President
197      Miami Beach Medical            Vendor Agreements                    Quality Managed Health Care, Inc. d/ 5775 Blue Lagoon Drive, Ste. 450,        Alivi Chiro Network Provider Agreement                 $0.00
         Consultants, LLC                                                                                         Miami, FL 33125, Attn: President
198      Miami Medical & Wellness     Employment Agreement                   Querol Matos, Wilfredo Andres        16134 Southwest 138th Court              Employment Agreement by and between Wilfredo           $0.00
         Center, LLC / Rodolfo                                                                                                                             Querol Matos, APRN, and Miami Medical &
         Dumenigo, M.D., P.A. (now                                                                                                                         Wellness Center / Rodolfo Dumenigo, M.D., P.A.
         known as Miami Beach Medical                                                                                                                      (now known as Miami Beach Medical Centers, Inc.)
         Centers, Inc.)
199      Rodolfo Dumenigo, M.D., P.A.   Other (including Clinical Specialists) Rafael Capote, MD                  8812 NW 150 St Miami Lakes, FL 33018 INDEPENDENT CONTRACTOR AGREEMENT by and                    $0.00
         (now known as Miami Beach                                                                                                                         between Rodolfo Dumenigo, M.D., P.A. (now known
         Medical Centers, Inc.)                                                                                                                            as Miami Beach Medical Centers, Inc.)d//b/a Clinical
                                                                                                                                                           Care Medical Centers and Rafael Capote, MD




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200      Miami Medical & Wellness     Employment Agreement                  Ramos Ferreiro, Seidel Idailys      7542 Armand Circle                     Employment Agreement by and between Seidel               $0.00
         Center, LLC / Rodolfo                                                                                                                         Ramos Ferreiro, APRN, and Miami Medical &
         Dumenigo, M.D., P.A. (now                                                                                                                     Wellness Center / Rodolfo Dumenigo, M.D., P.A.
         known as Miami Beach Medical                                                                                                                  (now known as Miami Beach Medical Centers, Inc.)
         Centers, Inc.)
201      Miami Medical & Wellness     Other (including Clinical Specialists) Raul Falero MD LLC                 6861 SW 147th Ave Apt ## Miami, FL     INDEPENDENT CONTRACTOR AGREEMENT by and                  $0.00
         Center, LLC / Rodolfo                                                                                  33193                                  between Miami Medical & Wellness Center /
         Dumenigo, M.D., P.A. (now                                                                                                                     Rodolfo Dumenigo, M.D., P.A. (now known as
         known as Miami Beach Medical                                                                                                                  Miami Beach Medical Centers, Inc.)d//b/a Clinical
         Centers, Inc.)                                                                                                                                Care Medical Centers and Raul Falero MD LLC
202      Miami Medical & Wellness     Employment Agreement                  Reyes Leon, Aslien                  11420 Southwest 143th Court            EMPLOYMENT AGREEMENT by and between Aslien               $0.00
         Center, LLC / Rodolfo                                                                                                                         Reyes Leon, APRN
         Dumenigo, M.D., P.A. (now                                                                                                                     (“Employee”), and MIAMI MEDICAL & WELLNESS
         known as Miami Beach Medical                                                                                                                  CENTER/ RODOLFO DUMENIGO
         Centers, Inc.)                                                                                                                                M.D., P.A., a Florida professional service corporation
                                                                                                                                                       d/b/a CLINICAL CARE MEDICAL
                                                                                                                                                       CENTERS (“Employer”).
203      Miami Medical & Wellness     Employment Agreement                  Reyes Ortega, Maritza               6910 Southwest 163rd Place             Employment Agreement by and between Maritza              $0.00
         Center, LLC / Rodolfo                                                                                                                         Reyes Ortega, APRN, and Miami Medical &
         Dumenigo, M.D., P.A. (now                                                                                                                     Wellness Center / Rodolfo Dumenigo, M.D., P.A.
         known as Miami Beach Medical                                                                                                                  (now known as Miami Beach Medical Centers, Inc.)
         Centers, Inc.)
204      MB Medical Operations, LLC     Commercial Lease                    RLV Oriole Plaza LP                 1500 Northwestern Highway, Suite 300, Lease by and between RLV Oriole Plaza LP a                $0.00
                                                                                                                Farmington Hills, Michigan 48334      Delaware limited partnership, as Landlord, and MB
                                                                                                                                                      Medical Operations LLC d/b/a/ Delray Medical
                                                                                                                                                      Center by MBMG, a Delaware limited liability
                                                                                                                                                      company, as Tenant, for space B-210 in the above
                                                                                                                                                      reference shopping center.
205      MB Medical Operations, LLC     Employment Agreement                Robbins, Jackie S                   9030 Notchwood Court Orlando, FL       Separation Agreement, Including General Release          $0.00
                                                                                                                32825                                  between Jackie S. Robbins and MB Medical
                                                                                                                                                       Operations, LLC d/b/a Clinical Care Medical Centers


206      Miami Medical & Wellness     FIRST AMENDMENT TO EMPLOYME Rodriguez Abreu, Ernesto                      8798 Southwest 52nd Street             Employment Agreement by and between Ernesto              $0.00
         Center, LLC / Rodolfo                                                                                                                         Rodriguez Abreu, APRN, and Miami Medical &
         Dumenigo, M.D., P.A. (now                                                                                                                     Wellness Center / Rodolfo Dumenigo, M.D., P.A.
         known as Miami Beach Medical                                                                                                                  (now known as Miami Beach Medical Centers, Inc.)
         Centers, Inc.)
207      Miami Medical & Wellness     Employment Agreement                  Rodriguez Martinez, Geysert         8899 Southwest 220th Lane              Employment Agreement by and between Geysert              $0.00
         Center, LLC / Rodolfo                                                                                                                         Rodriguez Martinez, APRN, and Miami Medical &
         Dumenigo, M.D., P.A. (now                                                                                                                     Wellness Center / Rodolfo Dumenigo, M.D., P.A.
         known as Miami Beach Medical                                                                                                                  (now known as Miami Beach Medical Centers, Inc.)
         Centers, Inc.)
208      Rodolfo Dumenigo, M.D., P.A.   Employment Agreement                Rodriguez Rivera, David Eduardo     23161 Pachino Way                      EMPLOYMENT AGREEMENT BETWEEN Rodolfo                     $0.00
         (now known as Miami Beach                                                                                                                     Dumenigo, M.D., P.A. (now known as Miami Beach
         Medical Centers, Inc.)                                                                                                                        Medical Centers, Inc.), d/b/a MIAMI BEACH
                                                                                                                                                       MEDICAL GROUP/
                                                                                                                                                       a Florida Professional Service Corporation AND
                                                                                                                                                       DAVID EDUARDO RODRIGUEZ RIVERA, MD
209      Miami Medical & Wellness     Employment Agreement                  Rodriguez Rodriguez, Odarkys        2126 SW 16 Street                      Employment Agreement by and between Odarkys              $0.00
         Center, LLC / Rodolfo                                                                                                                         Rodriguez Rodriguez, APRN, and Miami Medical &
         Dumenigo, M.D., P.A. (now                                                                                                                     Wellness Center / Rodolfo Dumenigo, M.D., P.A.
         known as Miami Beach Medical                                                                                                                  (now known as Miami Beach Medical Centers, Inc.)
         Centers, Inc.)




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210      Miami Medical & Wellness     FIRST AMENDMENT TO EMPLOYME Rodriguez, Jorge Machin                      1608 W Oak Ave Plant City,FL 33563     Employment Agreement by and between Jorge                 $0.00
         Center, LLC / Rodolfo                                                                                                                        Machin Rodriguez, M.D., and Miami Medical &
         Dumenigo, M.D., P.A. (now                                                                                                                    Wellness Center / Rodolfo Dumenigo, M.D., P.A.
         known as Miami Beach Medical                                                                                                                 (now known as Miami Beach Medical Centers, Inc.)
         Centers, Inc.)
211      Miami Medical & Wellness     Employment Agreement                  Rodriguez, Veronica                19274 NW 19th St                       EMPLOYMENT AGREEMENT (this “Agreement”) by                $0.00
         Center, LLC / Rodolfo                                                                                                                        and between Veronica Rodriguez, M.D.
         Dumenigo, M.D., P.A. (now                                                                                                                    (“Physician”), and MIAMI MEDICAL & WELLNESS
         known as Miami Beach Medical                                                                                                                 CENTER/ Rodolfo Dumenigo, M.D., P.A. (now known
         Centers, Inc.)                                                                                                                               as Miami Beach Medical Centers, Inc.),
212      Miami Medical & Wellness     Employment Agreement                  Rodriguez, Yoelquis                7681 W 34 Lane                         Employment Agreement by and between Yoelquis              $0.00
         Center, LLC / Rodolfo                                                                                                                        Rodriguez, APRN, and Miami Medical & Wellness
         Dumenigo, M.D., P.A. (now                                                                                                                    Center / Rodolfo Dumenigo, M.D., P.A. (now known
         known as Miami Beach Medical                                                                                                                 as Miami Beach Medical Centers, Inc.)
         Centers, Inc.)
213      Care Center Network, LLC       Other (including Clinical Specialists) Romel Figueredo, MD P.A.        12854 SW 51 Street Miramar, FL 33027 INDEPENDENT CONTRACTOR AGREEMENT by and                     $0.00
                                                                                                                                                    among Clinical Care Network, Inc., Romel
                                                                                                                                                    Figueredo, M.D., PA and Romel Figueredo, M.D.
214      Miami Medical & Wellness     Employment Agreement                  Saint Fleur, Samson                2216 Southwest 195th Avenue            Employment Agreement by and between Samson                $0.00
         Center, LLC / Rodolfo                                                                                                                        Saint Fleur, PA, and Miami Medical & Wellness
         Dumenigo, M.D., P.A. (now                                                                                                                    Center / Rodolfo Dumenigo, M.D., P.A. (now known
         known as Miami Beach Medical                                                                                                                 as Miami Beach Medical Centers, Inc.)
         Centers, Inc.)
215      MB Medical Operations, LLC     Technology                          salesforce.com, inc.               Salesforce Tower 415 Mission Street,   Order Form (Q-04150927)                                   $0.00
                                                                                                               3rd Floor San Francisco, CA 94105
216      MB Medical Operations, LLC     Technology                          salesforce.com, inc.               Salesforce Tower 415 Mission Street,   Order Form (Q-04150927)                                   $0.00
                                                                                                               3rd Floor San Francisco, CA 94105
217      Miami Medical & Wellness     Employment Agreement                  Sanchez Rodriguez, Yandris I       23813 Southwest 107th Place            Employment Agreement by and between Yandris               $0.00
         Center, LLC / Rodolfo                                                                                                                        Sanchez, APRN, and Miami Medical & Wellness
         Dumenigo, M.D., P.A. (now                                                                                                                    Center / Rodolfo Dumenigo, M.D., P.A. (now known
         known as Miami Beach Medical                                                                                                                 as Miami Beach Medical Centers, Inc.)
         Centers, Inc.)
218      Rodolfo Dumenigo, M.D., P.A.   Separation Agreement                Santiago, Mario A                  5031 Down Court                        Employment Agreement by and Between Mario A.              $0.00
         (now known as Miami Beach                                                                                                                    Santiago Flores, M.D., and Rodolfo Dumenigo, M.D.,
         Medical Centers, Inc.)                                                                                                                       P.A. (now known as Miami Beach Medical Centers,
                                                                                                                                                      Inc.)d/b/a Miami Beach Medical Group
219      MB Medical Operations, LLC     Technology                          ScribeEMR Inc.                     500 West Cummings Park, Suite 2950     MEDICAL CODING SERVICE AGREEMENT                     $22,534.75
                                                                                                               Woburn, MA 01801
220      Miami Beach Medical            Technology                          Scrivas, LLC                       8720 N. Kendall Drive, Suite 204, Miami, ADDENDUM D Addition of Tiered Pricing Structure    $24,052.32
         Consultants, LLC                                                                                      FL 33176
221      Miami Beach Medical            Dental Contracts (Senior Dental)    Senior Dental LLC                  1321 SW 107th Ave Suite 216A Miami,    Participation Agreement by and between Miami              $0.00
         Consultants, LLC                                                                                      FL 33174                               Beach Medical Consultants, LLC, Rodolfo
                                                                                                                                                      Dumenigo, MD, PA and Senior Dental, LLC
222      Miami Medical & Wellness     FIRST AMENDMENT TO EMPLOYME Silva Barrero, Yunior                        15527 Southwest 16th Street            Employment Agreement by and between Yunior                $0.00
         Center, LLC / Rodolfo                                                                                                                        Silva Barrero, M.D. and Miami Medical Wellness
         Dumenigo, M.D., P.A. (now                                                                                                                    Center / Rodolfo Dumenigo, M.D., P.A. (now known
         known as Miami Beach Medical                                                                                                                 as Miami Beach Medical Centers, Inc.)
         Centers, Inc.)
223      Miami Medical & Wellness     Employment Agreement                  Silva, Manuel                      1924 Southwest 151 Place               Employment Agreement by and between Manuel                $0.00
         Center, LLC / Rodolfo                                                                                                                        Silva, APRN, and Miami Medical & Wellness Center
         Dumenigo, M.D., P.A. (now                                                                                                                    / Rodolfo Dumenigo, M.D., P.A. (now known as
         known as Miami Beach Medical                                                                                                                 Miami Beach Medical Centers, Inc.)
         Centers, Inc.)
224      Miami Beach Medical            Payor contracts                     Simply Healthcare Plans, Inc.      c/o Legal Department 9250 W. Flagler   Provider Agreement                                        $0.00
         Consultants, LLC                                                                                      St., Suite 600 Miami, FL 33174




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225      Miami Beach Medical            Payor contracts                      Simply Healthcare Plans, Inc.         c/o Legal Department 9250 W. Flagler    Provider Agreement                                       $0.00
         Consultants, LLC                                                                                          St., Suite 600 Miami, FL 33174
226      MBMG Ultimate Holding, LP      Employment Agreement                 Singh, Sanjeev                        19 Dougshire Court Burr Ridge, IL       Separation Agreement by and among MBMG                   $0.00
                                                                                                                   60527                                   Holding, LLC MBMG Ultimate Holding, and Sanjeev
                                                                                                                                                           Singh
227      Florida Family Primary Care    Payor contracts                      Solis Health Plans, Inc               9250 NW 36th Street, Suite 400 Doral,   Network Provider Agreement                               $0.00
         Centers of Tampa, LLC                                                                                     Florida 33178
228      Miami Beach Medical            Payor contracts                      Solis Health Plans, Inc               9250 NW 36th Street, Suite 400 Doral,   Network Provider Agreement                               $0.00
         Consultants, LLC                                                                                          Florida 33178
229      Rodolfo Dumenigo, M.D., P.A.   Separation Agreement                 Soto, Maria                           1012 Ferndown CT Aiken, SC 29803        Employment Agreement by and between Maria                $0.00
         (now known as Miami Beach                                                                                                                         Soto, M.D., and Rodolfo Dumenigo, M.D., P.A. (now
         Medical Centers, Inc.)                                                                                                                            known as Miami Beach Medical Centers, Inc.)
230      MB Medical Operations, LLC     Insurance                            Starline Group                        Chris Perrone StarLine 804 Main Street, Provider Exess Loss Insurance for MB Medical             $0.00
                                                                                                                   Suite 2A Osterville, MA 02655           operations, LLC
231      MBMG Holding, LLC              Other (including Clinical Specialists) Suarez Professional Services Corp   At the address (or to the e-mail        Separation Agreement                                     $0.00
                                                                                                                   address) shown in the books and
                                                                                                                   records of the Company. With a copy
                                                                                                                   (which shall not serve as notice) to:
                                                                                                                   Johnson, Pope, Bokor, Ruppel & Burns,
                                                                                                                   LLP 490 1st Avenue South, Suite 700 St.
                                                                                                                   Petersburg, FL 33701 Attention: Michael
                                                                                                                   D. Magidson (michaelm@jpfirm.com)


232      Rodolfo Dumenigo, M.D., P.A.   Separation Agreement                 Suarez, German                        2718 SW 143 PL                          Employment Agreement                                     $0.00
         (now known as Miami Beach
         Medical Centers, Inc.)
233      MBMG Ultimate Holding, LP      Employment Agreement                 Suarez, Jose David                    3755 SW 130 Ave Miami, FL United        Separation Agreement by and among MBMG                   $0.00
                                                                                                                   States                                  Holding, LLC MBMG Ultimate Holding, L.P. Suarez
                                                                                                                                                           Professional Services Corp, Jose David Suarez, M.D.


234      Miami Medical & Wellness     Employment Agreement                   Sueiro, Martin J                      6910 Southwest 163rd Place              Employment Agreement by and Between Martin               $0.00
         Center, LLC / Rodolfo                                                                                                                             Sueiro, M.D., and Miami Medical & Wellness Center
         Dumenigo, M.D., P.A. (now                                                                                                                         / Rodolfo Dumenigo, M.D., P.A. (now known as
         known as Miami Beach Medical                                                                                                                      Miami Beach Medical Centers, Inc.)
         Centers, Inc.)
235      MB Medical Operations, LLC     Commercial Lease                     Summit Medical LLC                    c/o Commercial Asset Partners Realty    Assignment, Assumption, and First Amendment to           $0.00
                                                                                                                   2511 Seven Springs Blvd. Trinity, FL    Lease Agreement by and between MB Medical
                                                                                                                   34655                                   Operations, LLC and Summit Medical LLC
236      MB Medical Operations, LLC     Other (including Clinical Specialists) Sunshine Communication Services     159 MADEIRA AVE CORAL GABLES, FL Telephone Answering Services Subscriber Service                 $0.00
                                                                                                                   United States                    Agreement
237      Florida Family Primary Care    Payor contracts                      Sunshine State Health Plan, Inc.      1299 NW 40 Ave Ste C Lauderhill, FL     Group Agreement                                          $0.00
         Centers of Tampa, LLC                                                                                     33313
238      Florida Family Primary Care    Commercial Lease                     Terrace Walk Plaza                    11531 N. 56th Street Temple Terrace,    Lease by and between Terrace Walk Plaza an            $8,081.45
         Centers of Tampa, LLC                                                                                     Florida 33617                           dFlorida Family Primary Care Centers of Tampa, LLC


239      MB Medical Operations, LLC     Commercial Lease                     THE HUB RETAIL, LLC                   Attn. Orin Black PO Box 611808 N.       Lease Agreement MB Medical Operations LLC and            $0.00
                                                                                                                   Miami, FL 33261-1808                    Hub Retail LLC
240      Miami Beach Medical            Vendor Agreements                    Therapy Health Network LLC d/b/a Al5775 Blue Lagoon Drive, Ste. 450,          Alivi Therapy Network Provider Agreement                 $0.00
         Consultants, LLC                                                                                       Miami, FL 33125, Attn: President
241      MB Medical Operations, LLC     Transportation                       Time Park, Inc                        P.O. Box 363 Ocoee, FL 34761-4910       Parking Valet Agreement by and between Clinical        $996.15
                                                                                                                                                           Care Medical Operations LLC and Time Park Inc.
242      MB Medical Operations, LLC     Technology                           T-Mobile Financial LLC                 EIP Program Customer Relations, P.O.   EQUIPMENT INSTALLMENT PLAN (EIP) CONTRACT                $0.00
                                                                                                                   Box 37380, Albuquerque, NM 87176-       AND DISCLOSURE (Plan ID 201905170124067610)
                                                                                                                   7380




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243      MB Medical Operations, LLC       Commercial Lease         TOWER SHOPPING PLAZA, INC           11954 Narcoossee Rd. Suite 2. PMB       Lease by and between Tower Shopping Plaza, inc        $0.00
                                                                                                       #429 Orlando, FL 32832                  and MB Medical Operations, llc
244      Florida Family Primary Care    Employment Agreement       Trinidad-Torres, Evelyn             16402 Egrey Crossing Ln Lithiam FL      FIRST AMENDMENT TO EMPLOYMENT                         $0.00
         Center of Pasco, LLC / Florida                                                                33547                                   AGREEMENT (this
         Family Primary Care Centers of                                                                                                        “Amendment”) by and
         Pinellas, LLC / Florida Family                                                                                                        between FLORIDA FAMILY PRIMARY CARE CENTER
         Primary Care Centers of Tampa,                                                                                                        OF PASCO, LLC, FLORIDA
         LLC                                                                                                                                   FAMILY PRIMARY CARE CENTERS OF PINELLAS,
                                                                                                                                               LLC, and FLORIDA FAMILY
                                                                                                                                               PRIMARY CARE CENTERS OF TAMPA, LLC
                                                                                                                                               (collectively, the “Company”), and Evelyn Trinidad-
                                                                                                                                               Torres, MD
245      MB Medical Transport, LLC        Transportation           Trip2, LLC                          2766 NW 62nd Street, Miami, FL 33147 Trip2 Software License Agreement between Trip2,          $0.00
                                                                                                                                            LLC and MB Medical Transport, LLC
246      Rodolfo Dumenigo, M.D., P.A.     Separation Agreement     Ugarte, Carolina                    17000 NW 67th Ave                       Employment Agreement                                  $0.00
         (now known as Miami Beach
         Medical Centers, Inc.)
247      Florida Family Primary Care    Payor contracts            UnitedHealthcare of Florida, Inc.   3000 Bayport Drive, Ste. 1170, Tampa,   Network Risk Agreement                                $0.00
         Center of Pasco, LLC / Florida                                                                FL 33607
         Family Primary Care Centers of
         Pinellas, LLC / Florida Family
         Primary Care Centers of Tampa,
         LLC
248      Miami Beach Medical              Payor contracts          UnitedHealthcare of Florida, Inc.   2300 W Plano Pkwy #C1E105 Plano, TX Network Risk Agreement                                    $0.00
         Consultants, LLC                                                                              75075-8427
249      Miami Beach Medical              Payor contracts          UnitedHealthcare of Florida, Inc.   495 N Keller Rd, Suite 200 Maitland, FL Network Risk Agreement                                $0.00
         Consultants, LLC                                                                              32751
250      Miami Medical & Wellness     Employment Agreement         Urgell, Jorge                       3991 Sw 153Rd Ct                        Employment Agreement by and between Jorge             $0.00
         Center, LLC / Rodolfo                                                                                                                 Urgell, APRN, and Miami Medical & Wellness
         Dumenigo, M.D., P.A. (now                                                                                                             Center / Rodolfo Dumenigo, M.D., P.A. (now known
         known as Miami Beach Medical                                                                                                          as Miami Beach Medical Centers, Inc.)
         Centers, Inc.)
251      Florida Family Primary Care    Employment Agreement       Uribazo, Beatriz                    1243 Evergreen Park Cir                 FIRST AMENDMENT TO EMPLOYMENT                         $0.00
         Center of Pasco, LLC / Florida                                                                                                        AGREEMENT (this
         Family Primary Care Centers of                                                                                                        “Amendment”) by and
         Pinellas, LLC / Florida Family                                                                                                        between FLORIDA FAMILY PRIMARY CARE CENTER
         Primary Care Centers of Tampa,                                                                                                        OF PASCO, LLC, FLORIDA
         LLC                                                                                                                                   FAMILY PRIMARY CARE CENTERS OF PINELLAS,
                                                                                                                                               LLC, and FLORIDA FAMILY
                                                                                                                                               PRIMARY CARE CENTERS OF TAMPA, LLC
                                                                                                                                               (collectively, the “Company”), and BEATRIZ
                                                                                                                                               URIBAZO, M.D.
252      MB Medical Operations, LLC       Separation Agreement     Valdez, Yanelis                     6401 Golden Drive                       Employment Agreement                                  $0.00
253      Florida Family Primary Care      Employment Agreement     Vejas, Eduardo                      7001 Interbay Blvd                      THIS FIRST AMENDMENT TO EMPLOYMENT                    $0.00
         Centers of Pinellas, LLC /                                                                                                            AGREEMENT by and
         Florida Family Primary Care                                                                                                           between FLORIDA FAMILY PRIMARY CARE
         Centers of Tampa, LLC                                                                                                                 CENTERS OF PINELLAS, LLC, and
                                                                                                                                               FLORIDA FAMILY PRIMARY CARE CENTERS OF
                                                                                                                                               TAMPA, LLC (collectively, the
                                                                                                                                               “Company”), and EDUARDO VEJAS CASTILLERO,
                                                                                                                                               M.D.




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254      Miami Medical & Wellness     Employment Agreement                   Verges Bonet, Enrique                5470 W 20th Ave                        EMPLOYMENT AGREEMENT                                      $0.00
         Center, LLC / Rodolfo                                                                                                                           BETWEEN MIAMI MEDICAL & WELLNESS CENTER/
         Dumenigo, M.D., P.A. (now                                                                                                                       Rodolfo Dumenigo, M.D., P.A. (now known as
         known as Miami Beach Medical                                                                                                                    Miami Beach Medical Centers, Inc.),
         Centers, Inc.)                                                                                                                                  d/b/a MIAMI BEACH MEDICAL GROUP/ a Florida
                                                                                                                                                         professional association AND ENRIQUE VERGES-
                                                                                                                                                         BONET, M-D.


255      Rodolfo Dumenigo, M.D., P.A.   Employment Agreement                 Vidal, Gretchen                      9020 NW 8 Street                       EMPLOYMENT AGREEMENT AND PROTOCOL                         $0.00
         (now known as Miami Beach                                                                                                                       BETWEEN Rodolfo Dumenigo, M.D., P.A. (now
         Medical Centers, Inc.)                                                                                                                          known as Miami Beach Medical Centers, Inc.), d/b/a
                                                                                                                                                         Miami Beach Medical Group and Gretchen Vidal,
                                                                                                                                                         MSN, FNP, RN-APRN
256      MB Medical Operations, LLC     Parking Agreement                    Villaverde Properties                c/o Horizon Properties 18610 NW 87th Lease by and between Villaverde Properties and MB           $0.00
                                                                                                                  Avenue, Suite 204 Miami, FL 33015    Medical Operations, LLC


257      MB Medical Operations, LLC     Technology                           Vonage Business Inc.                 23 Main St. Holmdel, NJ 07733          ADDENDUM TO VONAGE BUSINESS SERVICE                  $61,112.87
                                                                                                                                                         TERMS Sales Order # Q884954
258      Miami Medical & Wellness     Employment Agreement                   Vydas, Hector                        6710 Hanley Rd Tampa, FL 33634         Employment Agreement by and between Hector                $0.00
         Center, LLC / Rodolfo                                                                                                                           Vydas, MD, and Miami Medical & Wellness Center /
         Dumenigo, M.D., P.A. (now                                                                                                                       Rodolfo Dumenigo, M.D., P.A. (now known as
         known as Miami Beach Medical                                                                                                                    Miami Beach Medical Centers, Inc.)
         Centers, Inc.)
259      MB Medical Operations, LLC     Other (including Clinical Specialists) Waste Management Inc. of Florida   8801 NW 91st Street Medley, FL 33178 Service Agreement between Rainbow Health Corp           $7,735.10
                                                                                                                                                       and Waste Management Inc. of Florida
260      Miami Beach Medical            Payor contracts                      WellCare of Florida, Inc. and WellCare8735 Henderson Rd. Tampa, FL 33634    Participating Provider Agreement                          $0.00
         Consultants, LLC                                                                                         Attn: Network Development
261      Miami Medical & Wellness     Employment Agreement                   Welvaert, Cira                       2495 Southwest 21st Terrace            Employment Agreement by and between Cira                  $0.00
         Center, LLC / Rodolfo                                                                                                                           Welvaert, M.D. and Miami Medical Wellness Center
         Dumenigo, M.D., P.A. (now                                                                                                                       / Rodolfo Dumenigo, M.D., P.A. (now known as
         known as Miami Beach Medical                                                                                                                    Miami Beach Medical Centers, Inc.)
         Centers, Inc.)
262      MB Medical Operations, LLC     Marketing                            WOW MKTG                             804 S. Douglas Road Executive Tower,   WOW MKTG CCMC SOW for marketing services             $35,000.00
                                                                                                                  5th Floor Coral Gables, FL 33134
263      Rodolfo Dumenigo, M.D., P.A.   Professional Fees                    Whitney Actuarial Consulting, LLC    18805 Chaville Road, Lutz, FL 33558    Consulting Agreement by and between Whitney               $0.00
         (now known as Miami Beach                                                                                                                       Actuarial Consulting, LLC and Rodolfo Dumenigo,
         Medical Centers, Inc.)                                                                                                                          M.D., P.A.
264      Rodolfo Dumenigo, M.D., P.A.   Equipment and Financing              Qmeds, Inc.                          7 Great Valley Parkway, Suite 100,     Order Form for Clinical Care Medical Centers              $0.00
         (now known as Miami Beach                                                                                Malvern, PA 19355
         Medical Centers, Inc.)
265      MB Medical Operations, LLC     Insurance                            IPFS Corporation                     401 E Jackson Street, Ste 1250, Tampa, Premium Financing Agreement                               $0.00
                                                                                                                  FL 33602
266      Rodolfo Dumenigo, M.D., P.A.   Other (including Clinical Specialists) Rarfente, MD PA                    1461 SW 145 Ave, Miami, FL 33184       Independent Contractor Agreementby and between            $0.00
         (now known as Miami Beach                                                                                                                       Rodolfo Dumenigo, M.D., P.A. and Ramon
         Medical Centers, Inc.)                                                                                                                          Rodriguez, M.D.




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